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ÿÿÿÿ$ÿ!ÿÿ&ÿÿ\$ÿ
 ÿO+ÿTK89ÿW4 +ÿNNNNNNNNÿ¢£
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 ÿÿÿ
 ÿJ2K+PÿZK4K+Vÿ4ÿJ9U)K3iÿ8U9Kÿ189ÿKL+MÿN­NN¦N¥®N£NN§ÿO2ÿ̄V¤K9¥23K°ÿ8¥ÿ1ÿN±Nÿ¬NN²N±NN§Nÿ ÿ                                 ÿL+3ÿ21ÿKL2Vÿ2Vÿ4Jÿ
 ÿ4V+ÿJU T+9MÿN³´NNµN¶N·NN·N¸N´NNµN¬«
                                    NNN·
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                                        NNNNNNNNNÿÿ                                                                                     4 +JP+Pÿ1252J*ÿ
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 01123245ÿ789 ÿ ÿ
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 ./01234ÿ567891:0;ÿ<76/81ÿ=/8ÿ>?933ÿ@AB:07BBÿC0D78ÿE296178ÿ,,ÿ                                                                                         (FG(H   ÿ
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    JKLMÿÿ          N¹©
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                       NN²ÿN³N¶N³N´NNÿ                                              O4K+ÿ9+)89Kÿ125+PMÿÿ 
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 S2J+ÿ81ÿTUV2J+VVMÿÿN¢£
                     NNN¤N¥N¦NNN§N¥NNNNNNNNNNNNNNÿ                                WXYZÿ38P+Mÿÿ        ºN³NN³N»N·N·NNNNNÿ
 [ÿ\\&\ÿ]ÿÿF^_ÿ$\ÿ(H`a_ÿÿÿ%&ÿ$ÿ'&_ÿ[ÿ&\ÿ#&ÿÿÿb#ÿ
 ÿ[ÿcÿd!&ÿÿ]ÿ$!ÿe#$$$ÿ!ÿÿÿ&ÿÿ\\!ÿ
 \!$ÿ&_ÿÿÿe$ÿÿ!ÿf]&_ÿ$ÿ&\#!$ÿÿ#_ÿ\\_ÿ&ÿ\!gÿÿ
 h+V)8JV2T5+ÿ)49KiMÿÿ                      N¼
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      ÿ ,kÿlA7B1:/009:87ÿ
      XJVm+9ÿ455ÿnU+VK28JVÿ8JÿT+L451ÿ81ÿKL+ÿP+TK89ÿ189ÿKL+ÿ)+928Pÿ38o+9+PÿTiÿKL2Vÿ9+)89KpÿUJ5+VVÿ8KL+9m2V+ÿ2JP234K+Pqÿ
      ÿ                                                                                                                                   s$ÿ tÿ tGuÿ
             [ÿ#ÿ$]ÿvwÿÿÿÿÿx#$$ÿÿ$ÿ(yz_ÿ\ÿÿdÿ&ÿeÿÿ{|}~~ÿgÿ ÿ ÿ ÿ
      qÿO2PÿKL+ÿTUV2J+VVÿ8)+94K+ÿPU92J*ÿKL+ÿ+JK29+ÿ9+)89K2J*ÿ)+928Pÿÿ                                             ÿ ÿ ÿ
       qÿO8ÿi8Uÿ)54JÿK8ÿ38JK2JU+ÿK8ÿ8)+94K+ÿKL+ÿTUV2J+VVÿJ+Kÿ 8JKLÿ                                               ÿ ÿ ÿ
      qÿ4o+ÿi8Uÿ)42Pÿ455ÿ81ÿi8U9ÿT255Vÿ8JÿK2+ÿÿ                                                                  ÿ ÿ ÿ
       qÿO2Pÿi8Uÿ)4iÿi8U9ÿ+ )58i++Vÿ8JÿK2+ÿ                                                                        ÿ ÿ ÿ
       qÿ4o+ÿi8UÿP+)8V2K+Pÿ455ÿKL+ÿ9+3+2)KVÿ189ÿi8U9ÿTUV2J+VVÿ2JK8ÿP+TK89ÿ2Jÿ)8VV+VV28JÿOYjÿ4338UJKVÿ           ÿ ÿ ÿ
      qÿ4o+ÿi8UÿK2+5iÿ125+Pÿi8U9ÿK4ÿ9+KU9JVÿ4JPÿ)42Pÿ455ÿ81ÿi8U9ÿK4+Vÿ                                         ÿ ÿ ÿ
      qÿ4o+ÿi8UÿK2+5iÿ125+Pÿ455ÿ8KL+9ÿ9+nU29+Pÿ*8o+9J +JKÿ1252J*Vÿ                                               ÿ ÿ ÿ
      qÿX9+ÿi8Uÿ3U99+JKÿ8Jÿi8U9ÿnU49K+95iÿ1++ÿ)4i +JKVÿK8ÿKL+ÿqZqÿ9UVK++ÿ89ÿ4J9U)K3iÿXP 2J2VK94K89ÿ           ÿ ÿ ÿ
      qÿ4o+ÿi8UÿK2+5iÿ)42Pÿ455ÿ81ÿi8U9ÿ2JVU94J3+ÿ)9+ 2U Vÿ                                                       ÿ ÿ ÿ
          [ÿ#ÿ$]ÿÿÿÿÿÿx#$$ÿÿ$ÿ(y(^_ÿ\ÿÿdÿ&ÿeÿÿ{|}~~ÿgÿ ÿ ÿ ÿ
      qÿO8ÿi8UÿL4o+ÿ4JiÿT4Jÿ4338UJKVÿ8)+Jÿ8KL+9ÿKL4JÿKL+ÿOYjÿ4338UJKVÿ                                          ÿ ÿ ÿ
      qÿ4o+ÿi8UÿV85Pÿ4Jiÿ4VV+KVÿ8KL+9ÿKL4Jÿ2Jo+JK89iÿ                                                           ÿ ÿ ÿ
       qÿ4o+ÿi8UÿV85Pÿ89ÿK94JV1+99+Pÿ4Jiÿ4VV+KVÿ89ÿ)98o2P+PÿV+9o23+VÿK8ÿ4Ji8J+ÿ9+54K+PÿK8ÿKL+ÿOYjÿ2Jÿ4Jiÿm4iÿ    ÿ ÿ ÿ
      qÿO2Pÿ4Jiÿ2JVU94J3+ÿ38 )4Jiÿ34J3+5ÿi8U9ÿ)8523iÿÿ                                                           ÿ ÿ ÿ
       qÿO2Pÿi8UÿL4o+ÿ4JiÿUJUVU45ÿ89ÿV2*J21234JKÿUJ4JK232)4K+Pÿ+)+JV+Vÿÿ                                         ÿ ÿ ÿ
       qÿ4o+ÿi8UÿT8998m+Pÿ 8J+iÿ198 ÿ4Ji8J+ÿ89ÿL4Vÿ4Ji8J+ÿ 4P+ÿ4Jiÿ)4i +JKVÿ8Jÿi8U9ÿT+L451ÿÿ                     ÿ ÿ ÿ
      qÿ4Vÿ4Ji8J+ÿ 4P+ÿ4Jÿ2Jo+VK +JKÿ2Jÿi8U9ÿTUV2J+VVÿÿ                                                         ÿ ÿ ÿ
 01123245ÿ789 ÿ ÿ                                       ÿÿÿÿ!ÿ"#$$$ÿ%&ÿ'ÿ((ÿ                        )4*+ÿ,ÿ
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    678ÿ98:1ÿ;4ÿ38<ÿ8 ;ÿ2ÿ;4ÿ4=1<ÿ21451ÿ;4ÿ1<ÿ28 >533;?ÿ                                            @ÿ @ÿ @ÿ
    6A8ÿ98:1ÿ;4ÿ84=1<ÿ8 ;ÿB1>ÿ34ÿ185ÿ3B1ÿ28 >ÿ3B83ÿ=151ÿ 1<ÿ21451ÿ;4ÿ1<ÿ28 >533;?ÿ               @ÿ @ÿ @ÿ
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    ÿ      5Cÿ*-++%$ÿ)ÿ1%.ÿEF&G&ÿ)$ÿEÿEFF-.ÿ
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        KBÿ894 3ÿ93ÿ1L8ÿ=B83ÿ;4ÿ5134531<ÿ8ÿ3B1ÿ8Bÿ4 ÿB8 <ÿ83ÿ3B1ÿ1 <ÿ4ÿ3B1ÿ94 3Bÿÿ3B1ÿ351:4ÿ Pÿ ÿ
        94 3B8ÿMÿ3Bÿÿ;45ÿ53ÿ513453Nÿ513453ÿ3B1ÿ3438ÿ8Bÿ4 ÿB8 <ÿ8ÿ4ÿ3B1ÿ<831ÿ4ÿ3B1ÿ4ÿ4ÿ3Bÿ81Oÿ
    Q8ÿI%ÿF%.ÿ$#F#&".ÿ                                                                       ÿ
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        R338Bÿ8ÿ34ÿ4ÿ8ÿ8Bÿ511:1<ÿ45ÿ3B1ÿ94 3Bÿ8 <ÿ821ÿ3ÿSTUVWVXÿZ8ÿM<1ÿ8ÿ ÿ
        8Bÿ511:1<ÿ1:1 ÿÿ;4ÿB8:1ÿ43ÿ<13431<ÿ3ÿ83ÿ3B1ÿ28 >Nÿ4134 ÿ4 ÿ                   ÿ
                                                                                                                    ÿ
        511:821Nÿ51<3ÿ85<ÿ<1343Nÿ8Bÿ511:1<ÿ549ÿ43B15ÿ38531Nÿ45ÿ48 Nÿ43Nÿ45ÿ ÿÿ
        38;91 3ÿ98<1ÿ2;ÿ43B15ÿ38531ÿ4 ÿ;45ÿ21B88ÿ04ÿ43ÿ8338Bÿ28 >ÿ383191 3ÿÿ ÿ
        1ÿ4ÿSTUVWVXÿZ8ÿ                                                                        ÿÿ
        [13453ÿ3B1ÿ3438ÿ549ÿSTUVWVXÿZÿB1518ÿ                                                     Pÿ          ÿ
    68ÿI%ÿF%.ÿ0&.J-$.#+#.ÿ
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        R338Bÿ8ÿ34ÿ4ÿ8ÿ38;91 3ÿ;4ÿ98<1ÿÿ3B1ÿ94 3Bÿ8 <ÿ821ÿ3ÿSTUVWVXÿ\8ÿ]3ÿ3B1ÿ
        <831ÿ38<Nÿ38;11Nÿ35341Nÿ8 <ÿ894 38ÿM<1ÿ8ÿ8 Bÿ38;91 3Nÿ<123ÿ85<ÿ              ÿ
        358 834 NÿB1>ÿ 1<ÿ1:1 ÿÿ3B1;ÿB8:1ÿ43ÿ1851<ÿ3B1ÿ28 >Nÿ4338 <4ÿ
        B1>ÿ 1<ÿ21451ÿ3B1ÿ28 >533;ÿ=8ÿ1<ÿ3B83ÿ=151ÿ84=1<ÿ34ÿ185ÿ3Bÿ94 3BNÿ       ÿ                   ÿ
        8 <ÿ38;91 3ÿ98<1ÿ2;ÿ43B15ÿ38531ÿ4 ÿ;45ÿ21B88ÿ04ÿ43ÿ8338Bÿ28 >ÿ383191 3ÿ
        ÿ1ÿ4ÿSTUVWVXÿ\8ÿ
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    8ÿ_#ÿF%.ÿ)`ÿ
        a23583ÿ1ÿ6ÿ549ÿ1ÿQÿ8 <ÿ513453ÿ3B1ÿ513ÿB1518ÿÿ                                                  hPÿ ÿ
        KBÿ894 3ÿ98;ÿ21ÿ<151 3ÿ549ÿ=B83ÿ;4ÿ98;ÿB8:1ÿ8831<ÿ8ÿbcXÿdefgVX8ÿÿÿ
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    i8ÿ1%.ÿÿ%0ÿ%ÿ#ÿ#0ÿ)ÿ#ÿ+ÿ                                                                     ÿ
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        R<<ÿ1ÿÿhÿ1ÿ6H8ÿ[13453ÿ3B1ÿ513ÿB1518ÿ                                                              ÿ
        [13453ÿ3Bÿ451ÿ8ÿ3B1ÿjklUÿfbÿUkbmÿkXÿXUcÿWcnVbbVbnÿfgÿXUcÿofbXUÿ4 ÿ;45ÿ1p3ÿ4315834ÿ5134538ÿÿ         qPÿ ÿ
        KBÿ894 3ÿ98;ÿ43ÿ983Bÿ;45ÿ28 >ÿ84 3ÿ288 1ÿ2181ÿ;4ÿ98;ÿB8:1ÿ4338 <4ÿB1>ÿ3B83ÿ
        B8:1ÿ43ÿ1851<ÿ3B1ÿ28 >ÿ45ÿ<1343ÿÿ358 38ÿ
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    ÿ      rsÿ/"%&0ÿ,&.ÿ
        R338Bÿ8ÿ3ÿ4ÿ8ÿ<123ÿt<4ÿ38p1uÿ=BBÿ;4ÿB8:1ÿ551<ÿ1ÿ3B1ÿ<831ÿ;4ÿ1<ÿ28 >533;ÿ23ÿ                 ÿ
        B8:1ÿ43ÿ38<8ÿ]821ÿ3ÿSTUVWVXÿS8ÿM<1ÿ3B1ÿ<831ÿ3B1ÿ<123ÿ=8ÿ551<Nÿ=B4ÿÿ4=1<ÿ3B1ÿ94 1;Nÿ3B1ÿ
        35341ÿ4ÿ3B1ÿ<123Nÿ8 <ÿ=B1 ÿ3B1ÿ<123ÿÿ<18ÿ[13453ÿ3B1ÿ3438ÿ549ÿSTUVWVXÿSÿB1518ÿ
    8ÿI%ÿ"%%J#.ÿ                                                                                             Pÿ           ÿ
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                ÿ~~ÿÿ                            ÿ                81ÿ9215                          ÿ   ÿ
ÿ           ÿ
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    ÿ      67ÿ#ÿ!8#0ÿÿ9-ÿ
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        ;8@1ÿ4=AÿB=1ÿ894 3ÿ4<1=ÿ34ÿ>4ÿ243;ÿ21451Cÿ8 =ÿ8315ÿ>4ÿ1=ÿ28 ?533>AÿÿD821ÿ3ÿEFGHIHJÿLAÿ
        B=1 3>ÿ<;4ÿ4<1ÿ>4ÿ94 1>Cÿ;4<ÿ9;ÿÿ4<1=Cÿ8 =ÿ<;1 ÿ38>91 3ÿÿ=1AÿM13453ÿ3;1ÿ3438ÿ549ÿ
        EFGHIHJÿLÿ;151Aÿÿ
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              SEFGHIHJÿLTÿ                                                                                                        ÿ
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    ÿ U7ÿV+"##.ÿ
    WAÿX;83ÿ<8ÿ3;1ÿ9215ÿ4ÿ1934>11ÿ<;1 ÿ3;1ÿ81ÿ<8ÿ1=Yÿÿ                                                          ÿ            ÿ
    ZAÿX;83ÿÿ3;1ÿ9215ÿ4ÿ1934>11ÿ8ÿ4ÿ3;1ÿ=831ÿ4ÿ3;ÿ94 3;>ÿ513453Yÿÿ                                             ÿ             ÿ
    ÿ
    ÿ      [7ÿ\$)#..&%ÿ]##.ÿ
    ^Aÿ_4<ÿ9;ÿ;8@1ÿ>4ÿ38=ÿ3;ÿ94 3;ÿÿ3541 4 8ÿ11ÿ51831=ÿ34ÿ3;ÿ28 ?533>ÿ81Yÿÿ                             Rÿ            ÿ
    `Aÿ_4<ÿ9;ÿ;8@1ÿ>4ÿ38=ÿÿ3541 4 8ÿ11ÿ51831=ÿ34ÿ3;ÿ28 ?533>ÿ81ÿ1ÿ3;1ÿ81ÿ<8 ÿ1=Yÿ                  Rÿ            ÿ
    abAÿ_4<ÿ9;ÿ;8@1ÿ>4ÿ38=ÿ3;ÿ94 3;ÿÿ43;15ÿ3541 4 8ÿ11Yÿÿ                                                     Rÿ       ÿ
    acAÿ_4<ÿ9;ÿ;8@1ÿ>4ÿ38=ÿÿ3438ÿ43;15ÿ3541 4 8ÿ11ÿ1ÿ4ÿ3;1ÿ81Yÿÿ                                       Rÿ       ÿ
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       493851ÿ>45ÿ838ÿ8 ;ÿ51133ÿ8 =ÿ=25191 3ÿ34ÿ<;83ÿ>4ÿ354f131=ÿÿ3;1ÿ351@4ÿ94 3;Aÿ
      g54f131=ÿ451ÿÿ3;1ÿ53ÿ94 3;ÿ;4=ÿ983;ÿ3;41ÿ354@=1=ÿ83ÿ3;1ÿ38ÿ=12345ÿ315@1<Cÿÿ8 >Aÿ
    ÿ                          ÿ hijklmÿnÿ                       ÿ    49 ÿoÿ              ÿ hijklmÿhÿ                 ÿÿ
    ÿ                          ÿ \$e#O#0ÿ                      qÿ rO-%ÿ                 sÿ t&))#$#O#ÿ              ÿÿ
    ÿ                          ÿ 3;413ÿ3>5ÿ1@14ÿaÿ94
                                                       uaZÿ549ÿ ÿ 43>ÿ1ÿbuÿ4ÿ ÿ w23583ÿ49 ÿoÿ ÿ
                                                           3;vÿ     3;ÿ513453Aÿÿÿÿÿÿÿÿÿÿÿÿ    549ÿ49 ÿ:Aÿÿÿÿÿÿÿÿÿÿÿÿ ÿ
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    aAÿ1%.ÿ$#O#&".ÿ      ÿ Rÿ ÿ                       qÿRÿ ÿ            sÿ Rÿ ÿ            ÿÿ
    aaAÿ1%.ÿ0&.Q-$.#+#.ÿ ÿ Rÿ ÿ                       qÿRÿ ÿ            sÿ Rÿ ÿ            ÿÿ
                            ÿ Rÿ ÿ                       qÿRÿ ÿ             sÿ Rÿ ÿ             ÿÿ
    aAÿx#ÿO%.ÿ)8ÿ
    ÿ                                                                                                                   ÿ
    aAÿy438ÿ354f131=ÿ8;ÿ51133ÿ45ÿ3;1ÿ1z3ÿ94 3;{ÿ                                                                 ÿRÿ ÿ
    aWAÿy438ÿ354f131=ÿ8;ÿ=25191 3ÿ45ÿ3;1ÿ1z3ÿ94 3;{ÿ                                                            |ÿ Rÿ ÿ
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            ÿ 24-01184-CL11                    Filed 06/11/24           $."%#I.'$E 12:33:19
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 141                       8"!#                                                                                    2+35
 141                       8"!#                                                                                    2*7533
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             Case 24-01184-CL11                   Filed 06/11/24     Entered!06/11/24
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                                                                          Transaction Report
                                                                                 


DATE          TRANSACTION     NUM ADJ NAME                     MEMO/DESCRIPTION                                        ACCOUNT      SPLIT          AMOUNT BALANCE
              TYPE
Alcohol Purchases
 04/16/2024 Expense               No   Ben E. Keith            Corporate ACH XXXXXXXXXX                                Alcohol      Checking-PNC     757.55     757.55
                                                                                                                       Purchases    Bank
 04/22/2024 Expense               No   Southern Glazers        CHECK 1049 REF. NO. 079260964                           Alcohol      Checking-PNC     684.00    1,441.55
                                                                                                                       Purchases    Bank
 04/22/2024 Expense               No   Ben E. Keith            Corporate ACH XXXXXXXXXX                                Alcohol      Checking-PNC     979.19    2,420.74
                                                                                                                       Purchases    Bank
 04/29/2024 Expense               No   Silver Eagle Beverage   CHECK 1062 REF. NO. 017418928                           Alcohol      Checking-PNC     730.10    3,150.84
                                                                                                                       Purchases    Bank
 04/29/2024 Expense               No   Ben E. Keith            Corporate ACH XXXXXXXXXX                                Alcohol      Checking-PNC    1,226.17   4,377.01
                                                                                                                       Purchases    Bank
 04/30/2024 Expense               No   Southern Glazers        CHECK 1061 REF. NO. 017889040                           Alcohol      Checking-PNC     846.00    5,223.01
                                                                                                                       Purchases    Bank
Total for Alcohol Purchases                                                                                                                        $5,223.01
Food Costs
 04/02/2024 Expense               No   Sams Club               5692 Debit Card Purchase Samsclub #4939 San Antonio     Food Costs   Checking-PNC     197.79     197.79
                                                               Tx                                                                   Bank
 04/02/2024 Expense               No   H-E-B                   5692 Debit Card Purchase H-E-B #699 San Antoni          Food Costs   Checking-PNC     155.75     353.54
                                                               Effective 04-01-24                                                   Bank
 04/02/2024 Expense               No   Foodmax                 5692 Debit Card Purchase Presa Foodmart San Antonio     Food Costs   Checking-PNC      99.55     453.09
                                                               Tx                                                                   Bank
 04/02/2024 Expense               No   Solano Produce          5692 Debit Card Purchase Sq *Solano Produce Llc San     Food Costs   Checking-PNC      88.58     541.67
                                                               Antonio Tx                                                           Bank
 04/02/2024 Expense               No   H-E-B                   5692 Debit Card Purchase H-E-B San Antonio Tx Effective Food Costs   Checking-PNC      84.87     626.54
                                                               04-01-24                                                             Bank
 04/03/2024 Expense               No   Sams Club               5692 Debit Card Purchase Samsclub #4939 San Antonio     Food Costs   Checking-PNC     265.88     892.42
                                                               Tx                                                                   Bank
 04/03/2024 Expense               No   La Panaderia            5692 Debit Card Purchase Sq *La Panaderia San Antonio   Food Costs   Checking-PNC     110.03    1,002.45
                                                               Tx                                                                   Bank
 04/03/2024 Expense               No   Alamo Candy             5692 Debit Card Purchase Alamo Candy Company 210-       Food Costs   Checking-PNC      80.06    1,082.51
                                       Company                 7348672 Tx                                                           Bank
 04/03/2024 Expense               No   H-E-B                   5692 Debit Card Purchase H-E-B San Antonio Tx Effective Food Costs   Checking-PNC      78.51    1,161.02
                                                               04-02-24                                                             Bank
 04/04/2024 Expense               No                           5692 Debit Card Purchase Casa Dulce San Antoni          Food Costs   Checking-PNC      42.24    1,203.26
                                                               Effective 04-03-24                                                   Bank
 04/09/2024 Expense               No                           5692 Debit Card Purchase Citibank, N.A./Citiban 888-    Food Costs   Checking-PNC      96.00    1,299.26
                                                               6205879 SD                                                           Bank
 04/10/2024 Expense               No   Foodmax                 POS Purchase Presa Foodmart San Antonio                 Food Costs   Checking-PNC      10.81    1,310.07
                                                                                                                                    Bank
 04/10/2024 Expense               No   Venmo                   6060 Debit Card Purchase Venmo Visa Direct NY           Food Costs   Checking-PNC     400.00    1,710.07
                                                                                                                                    Bank
 04/11/2024 Expense               No   Solano Produce          5692 Debit Card Purchase Sq *Solano Produce Llc San     Food Costs   Checking-PNC      75.71    1,785.78
                                                               Antonio Tx                                                           Bank
 04/11/2024 Expense               No   Central Market          POS Purchase Central Market San Antonio                 Food Costs   Checking-PNC      83.09    1,868.87
                                                                                                                                    Bank
 04/11/2024 Expense               No   Foodmax                 POS Purchase Presa Foodmart San Antonio                 Food Costs   Checking-PNC      10.81    1,879.68
                                                                                                                                    Bank
 04/12/2024 Expense               No   Ace Mart                5692 Debit Card Purchase Ace Mart St Mary Store 210-    Food Costs   Checking-PNC      22.35    1,902.03
                                                               2240082 Tx                                                           Bank
 04/15/2024 Expense               No   Sams Club               5692 Debit Card Purchase Sams Club #4939 San Antonio    Food Costs   Checking-PNC     115.11    2,017.14
                                                               Tx                                                                   Bank
 04/15/2024 Expense               No   Solano Produce          5692 Debit Card Purchase Sq *Solano Produce Llc San     Food Costs   Checking-PNC      80.34    2,097.48
                                                               Antonio Tx                                                           Bank
 04/15/2024 Expense               No   Central Market          5692 Debit Card Purchase Central Market #191 San        Food Costs   Checking-PNC      36.29    2,133.77
                                                               Antonio Tx                                                           Bank
 04/15/2024 Expense               No   Sams Club               5692 Debit Card Purchase Samsclub #4939 San Antonio     Food Costs   Checking-PNC     135.10    2,268.87
                                                               Tx                                                                   Bank
 04/15/2024 Expense               No   Foodmax                 POS Purchase Presa Foodmart San Antonio                 Food Costs   Checking-PNC      10.81    2,279.68
                                                                                                                                    Bank
 04/15/2024 Expense               No                           ATM Withdrawal 1014 Goliad Rd San Antonio               Food Costs   Checking-PNC     800.00    3,079.68
                                                                                                                                    Bank
 04/15/2024 Expense               No                           ATM Withdrawal 1014 Goliad Rd San Antonio               Food Costs   Checking-PNC     400.00    3,479.68
                                                                                                                                    Bank
 04/16/2024 Expense               No   Sams Club               5692 Debit Card Purchase Sams Club Renewal 888-         Food Costs   Checking-PNC      50.00    3,529.68
                                                               7467726 Ar                                                           Bank
 04/16/2024 Expense               No                           ATM Withdrawal 1014 Goliad Rd San Antonio               Food Costs   Checking-PNC     600.00    4,129.68
                                                                                                                                    Bank

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DATE          TRANSACTION   NUM ADJ NAME                    MEMO/DESCRIPTION                                        ACCOUNT      SPLIT          AMOUNT BALANCE
              TYPE
 04/16/2024 Expense             No                          ATM Withdrawal 1014 Goliad Rd San Antonio               Food Costs   Checking-PNC     800.00    4,929.68
                                                                                                                                 Bank
 04/16/2024 Expense             No   Venmo                  6060 Debit Card Purchase Venmo Visa Direct NY           Food Costs   Checking-PNC     125.00    5,054.68
                                                                                                                                 Bank
 04/17/2024 Expense             No                          5692 Debit Card Purchase Stop and Shop #2 San Antonio   Food Costs   Checking-PNC      30.97    5,085.65
                                                            Tx                                                                   Bank
 04/17/2024 Expense             No   Sams Club              5692 Debit Card Purchase Sams Club #4939 San Antonio    Food Costs   Checking-PNC     251.16    5,336.81
                                                            Tx                                                                   Bank
 04/17/2024 Expense             No   Solano Produce         5692 Debit Card Purchase Sq *Solano Produce Llc San     Food Costs   Checking-PNC     214.24    5,551.05
                                                            Antonio Tx                                                           Bank
 04/17/2024 Expense             No   H-E-B                  5692 Debit Card Purchase H-E-B San Antonio Tx           Food Costs   Checking-PNC      92.03    5,643.08
                                                                                                                                 Bank
 04/18/2024 Expense             No   Foodmax                POS Purchase Presa Foodmart San Antonio                 Food Costs   Checking-PNC      10.81    5,653.89
                                                                                                                                 Bank
 04/18/2024 Expense             No                          ATM Withdrawal 1014 Goliad Rd San Antonio               Food Costs   Checking-PNC     800.00    6,453.89
                                                                                                                                 Bank
 04/19/2024 Expense             No   Foodmax                POS Purchase Presa Foodmart San Antonio                 Food Costs   Checking-PNC      18.36    6,472.25
                                                                                                                                 Bank
 04/19/2024 Expense             No   Sams Club              POS Purchase Sams Club #493 San Antonio                 Food Costs   Checking-PNC     212.36    6,684.61
                                                                                                                                 Bank
 04/19/2024 Expense             No                          ATM Withdrawal 1014 Goliad Rd San Antonio               Food Costs   Checking-PNC     320.00    7,004.61
                                                                                                                                 Bank
 04/22/2024 Expense             No   Solano Produce         5692 Debit Card Purchase Sq *Solano Produce Llc San     Food Costs   Checking-PNC     175.10    7,179.71
                                                            Antonio Tx                                                           Bank
 04/22/2024 Expense             No   H-E-B                  POS Purchase H-E-B #026 San Antonio                     Food Costs   Checking-PNC      35.04    7,214.75
                                                                                                                                 Bank
 04/22/2024 Expense             No   Sams Club              POS Purchase Sam's Club San Antonio                     Food Costs   Checking-PNC     159.95    7,374.70
                                                                                                                                 Bank
 04/22/2024 Expense             No   Venmo                  6060 Debit Card Purchase Venmo Visa Direct NY           Food Costs   Checking-PNC     150.00    7,524.70
                                                                                                                                 Bank
 04/24/2024 Expense             No                          POS Purchase Presa Foodmart San Antonio                 Food Costs   Checking-PNC        0.81   7,525.51
                                                                                                                                 Bank
 04/25/2024 Expense             No   Solano Produce         CHECK 1051 REF. NO. 015667102                           Food Costs   Checking-PNC     189.00    7,714.51
                                                                                                                                 Bank
 04/25/2024 Expense             No   Alamo Candy            POS Purchase Alamo Candy Co San Antonio                 Food Costs   Checking-PNC      57.66    7,772.17
                                     Company                                                                                     Bank
 04/25/2024 Expense             No   H-E-B                  POS Purchase H-E-B #556 San Antonio                     Food Costs   Checking-PNC      41.82    7,813.99
                                                                                                                                 Bank
 04/26/2024 Expense             No                          POS Purchase Wholefds Qry 1 San Antonio                 Food Costs   Checking-PNC        3.99   7,817.98
                                                                                                                                 Bank
 04/29/2024 Expense             No   Solano Produce         CHECK 1064 REF. NO. 017412584                           Food Costs   Checking-PNC      33.80    7,851.78
                                                                                                                                 Bank
 04/29/2024 Expense             No   Sams Club              5692 Debit Card Purchase Sams Club #4939 San Antonio    Food Costs   Checking-PNC      89.51    7,941.29
                                                            Tx                                                                   Bank
 04/29/2024 Expense             No   H-E-B                  5692 Debit Card Purchase H-E-B #026 San Antoni          Food Costs   Checking-PNC      23.36    7,964.65
                                                                                                                                 Bank
Total for Food Costs                                                                                                                            $7,964.65
Restaurant Supplies
 04/02/2024 Expense             No   Walmart                5692 Debit Card Purchase Wal-Mart #5245 San Antonio Tx Restaurant    Checking-PNC     150.68     150.68
                                                                                                                   Supplies      Bank
 04/02/2024 Expense             No   Walmart                5692 Debit Card Purchase Wm Supercenter #5245 San       Restaurant   Checking-PNC      95.99     246.67
                                                            Antonio Tx                                              Supplies     Bank
 04/02/2024 Expense             No   Ace Mart               5692 Debit Card Purchase Ace Mart St Mary Store 210-    Restaurant   Checking-PNC      76.49     323.16
                                                            2240082 Tx                                              Supplies     Bank
 04/02/2024 Expense             No   Amazon                 5692 Debit Card Purchase Amzn Mktp US*Wl58H4Bj3         Restaurant   Checking-PNC      27.56     350.72
                                                            Amzn.com/bi Wa                                          Supplies     Bank
 04/02/2024 Expense             No   Family Dollar          5692 Debit Card Purchase Family Dollar #2489 San        Restaurant   Checking-PNC      25.11     375.83
                                                            Antonio Tx                                              Supplies     Bank
 04/02/2024 Expense             No   Family Dollar          5692 Debit Card Purchase Family Dollar #2489 San        Restaurant   Checking-PNC        9.96    385.79
                                                            Antonio Tx                                              Supplies     Bank
 04/02/2024 Expense             No   Walmart                5692 Debit Card Purchase Wal-Mart #5245 San Antonio Tx Restaurant    Checking-PNC        6.48    392.27
                                                                                                                   Supplies      Bank
 04/03/2024 Expense             No                          5692 Debit Card Purchase CD Exchange Bitters San        Restaurant   Checking-PNC      24.89     417.16
                                                            Antonio Tx                                              Supplies     Bank
 04/09/2024 Expense             No   Amazon                 5692 Debit Card Purchase Amzn Mktp US*M70Q95Ub3         Restaurant   Checking-PNC      27.56     444.72
                                                            Amzn.com/bi Wa                                          Supplies     Bank
 04/09/2024 Expense             No   Walmart                5692 Debit Card Purchase Wal-Mart #5245 San Antonio Tx Restaurant    Checking-PNC      57.62     502.34

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DATE       TRANSACTION   NUM ADJ NAME                    MEMO/DESCRIPTION                                         ACCOUNT       SPLIT          AMOUNT BALANCE
           TYPE
                                                                                                                  Supplies      Bank
 04/09/2024 Expense          No   Amazon                 5692 Debit Card Purchase Amzn Mktp US*TV4Ow7Ju3          Restaurant    Checking-PNC     20.16      522.50
                                                         Amzn.com/bi Wa                                           Supplies      Bank
 04/09/2024 Expense          No                          POS Purchase Michaels S San Antonio                      Restaurant    Checking-PNC     14.59      537.09
                                                                                                                  Supplies      Bank
 04/10/2024 Expense          No   Webstaurant            5692 Debit Card Purchase The Webstaurant Store 717-      Restaurant    Checking-PNC     40.27      577.36
                                                         3927472 PA                                               Supplies      Bank
 04/10/2024 Expense          No   Walmart                POS Purchase Wal-Mart #5245 San Antonio                  Restaurant    Checking-PNC     92.93      670.29
                                                                                                                  Supplies      Bank
 04/11/2024 Expense          No   Amazon                 5692 Debit Card Purchase Amazon.com*F55Ig8Ym3            Restaurant    Checking-PNC     60.60      730.89
                                                         Amzn.com/bi Wa                                           Supplies      Bank
 04/11/2024 Expense          No   Family Dollar          POS Purchase Family Dollar San Antonio                   Restaurant    Checking-PNC        7.50    738.39
                                                                                                                  Supplies      Bank
 04/11/2024 Expense          No   Restaurant Depot       POS Purchase Restaurant Dep San Antonio                  Restaurant    Checking-PNC    478.95     1,217.34
                                                                                                                  Supplies      Bank
 04/12/2024 Expense          No   Walmart                POS Purchase Wal-Mart #5245 San Antonio                  Restaurant    Checking-PNC    197.98     1,415.32
                                                                                                                  Supplies      Bank
 04/15/2024 Expense          No                          5692 Debit Card Purchase Amols Specialty San Antonio Tx Restaurant     Checking-PNC    106.18     1,521.50
                                                                                                                 Supplies       Bank
 04/15/2024 Expense          No                          5692 Debit Card Purchase Amols Specialty San Antonio Tx Restaurant     Checking-PNC     38.86     1,560.36
                                                                                                                 Supplies       Bank
 04/15/2024 Expense          No   Amazon                 5692 Debit Card Purchase Amzn Mktp US*Pe99F1843          Restaurant    Checking-PNC     20.53     1,580.89
                                                         Amzn.com/bi Wa                                           Supplies      Bank
 04/15/2024 Expense          No   Amazon                 5692 Debit Card Purchase Amzn Mktp US*Qb7F23BC3          Restaurant    Checking-PNC     27.05     1,607.94
                                                         Amzn.com/bi Wa                                           Supplies      Bank
 04/15/2024 Expense          No   Walmart                POS Purchase Wm Supercenter San Antonio                  Restaurant    Checking-PNC     71.88     1,679.82
                                                                                                                  Supplies      Bank
 04/15/2024 Expense          No   Walmart                POS Purchase Wm Supercenter San Antonio                  Restaurant    Checking-PNC     43.20     1,723.02
                                                                                                                  Supplies      Bank
 04/16/2024 Expense          No   Walmart                POS Purchase Wm Supercenter San Antonio                  Restaurant    Checking-PNC    119.55     1,842.57
                                                                                                                  Supplies      Bank
 04/16/2024 Expense          No   Best Buy               POS Purchase Best Buy San Antonio                        Restaurant    Checking-PNC     21.64     1,864.21
                                                                                                                  Supplies      Bank
 04/17/2024 Expense          No   Webstaurant            5692 Debit Card Purchase The Webstaurant Store 717-      Restaurant    Checking-PNC    259.78     2,123.99
                                                         3927472 PA                                               Supplies      Bank
 04/18/2024 Expense          No   Amazon                 5692 Debit Card Purchase Amzn Mktp US*4Z1Wu8B43          Restaurant    Checking-PNC     25.97     2,149.96
                                                         Amzn.com/bi Wa                                           Supplies      Bank
 04/18/2024 Expense          No   Amazon                 5692 Debit Card Purchase Amazon Groce*Mn8Ij7Ir3          Restaurant    Checking-PNC     11.12     2,161.08
                                                         Seattle Wa                                               Supplies      Bank
 04/18/2024 Expense          No   Amazon                 5692 Debit Card Purchase Amzn Mktp US*8R5En2V23          Restaurant    Checking-PNC     17.31     2,178.39
                                                         Amzn.com/bi Wa                                           Supplies      Bank
 04/18/2024 Expense          No   Amazon                 5692 Debit Card Purchase Amazon.com*5N8BS0Wg3            Restaurant    Checking-PNC     60.60     2,238.99
                                                         Amzn.com/bi Wa                                           Supplies      Bank
 04/19/2024 Expense          No   Amazon                 5692 Debit Card Purchase Amzn Mktp US*Dn6Ym9So3          Restaurant    Checking-PNC     16.18     2,255.17
                                                         Amzn.com/bi Wa                                           Supplies      Bank
 04/19/2024 Expense          No                          5692 Debit Card Purchase Sq *Restaurant Gwendol San      Restaurant    Checking-PNC     77.40     2,332.57
                                                         Antonio Tx                                               Supplies      Bank
 04/19/2024 Expense          No   Walmart                POS Purchase Wal-Mart Super San Antonio                  Restaurant    Checking-PNC     95.12     2,427.69
                                                                                                                  Supplies      Bank
 04/22/2024 Expense          No   Restaurant Depot       5692 Debit Card Purchase Restaurant Depot San Antonio    Restaurant    Checking-PNC    498.93     2,926.62
                                                         Tx                                                       Supplies      Bank
 04/22/2024 Expense          No   Ace Mart               5692 Debit Card Purchase Ace Mart St Mary Store 210-     Restaurant    Checking-PNC     70.02     2,996.64
                                                         2240082 Tx                                               Supplies      Bank
 04/22/2024 Expense          No   Mission Restaurant     5692 Debit Card Purchase Mission Restaurant Sup San      Restaurant    Checking-PNC     12.87     3,009.51
                                  Supplies               Antonio Tx                                               Supplies      Bank
 04/22/2024 Expense          No   Amazon                 5692 Debit Card Purchase Amazon.com*6K5Kq1Wn3            Restaurant    Checking-PNC     29.99     3,039.50
                                                         Amzn.com/bi Wa                                           Supplies      Bank
 04/22/2024 Expense          No   Amazon                 5692 Debit Card Purchase Amazon.com*Zo0Sm3U73            Restaurant    Checking-PNC     23.04     3,062.54
                                                         Amzn.com/bi Wa                                           Supplies      Bank
 04/22/2024 Expense          No   Finest City Paper      6060 Debit Card Purchase Finest City Paper 858-5693850   Restaurant    Checking-PNC    316.74     3,379.28
                                                         Ca                                                       Supplies      Bank
 04/22/2024 Expense          No   Amazon                 5692 Debit Card Purchase Amzn Mktp US*Qf5Lx9Jr3          Restaurant    Checking-PNC     30.84     3,410.12
                                                         Amzn.com/bi Wa                                           Supplies      Bank
 04/22/2024 Expense          No   Mission Restaurant     5692 Debit Card Purchase Mission Restaurant Sup San      Restaurant    Checking-PNC     81.19     3,491.31
                                  Supplies               Antonio Tx                                               Supplies      Bank
 04/22/2024 Expense          No   Family Dollar          POS Purchase Family Dollar San Antonio                   Restaurant    Checking-PNC     12.56     3,503.87
                                                                                                                  Supplies      Bank


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DATE          TRANSACTION       NUM ADJ NAME                    MEMO/DESCRIPTION                                       ACCOUNT      SPLIT           AMOUNT BALANCE
              TYPE
 04/22/2024 Expense                 No   Walmart                POS Purchase Wm Supercenter San Antonio                Restaurant   Checking-PNC      154.58    3,658.45
                                                                                                                       Supplies     Bank
 04/22/2024 Expense                 No   Walmart                POS Purchase Wm Supercenter San Antonio                Restaurant   Checking-PNC      107.67    3,766.12
                                                                                                                       Supplies     Bank
 04/22/2024 Expense                 No   Family Dollar          POS Purchase Family Dollar San Antonio                 Restaurant   Checking-PNC        13.26   3,779.38
                                                                                                                       Supplies     Bank
 04/22/2024 Expense                 No   Walmart                POS Purchase Wal-Mart Super San Antonio                Restaurant   Checking-PNC      119.22    3,898.60
                                                                                                                       Supplies     Bank
 04/22/2024 Expense                 No   Family Dollar          POS Purchase Family Dollar San Antonio                 Restaurant   Checking-PNC        31.61   3,930.21
                                                                                                                       Supplies     Bank
 04/24/2024 Expense                 No                          POS Purchase Michaels S San Antonio                    Restaurant   Checking-PNC        32.46   3,962.67
                                                                                                                       Supplies     Bank
 04/24/2024 Expense                 No   Walmart                POS Purchase Wal-Mart #5245 San Antonio                Restaurant   Checking-PNC      110.04    4,072.71
                                                                                                                       Supplies     Bank
 04/25/2024 Expense                 No   Restaurant Depot       POS Purchase Restaurant Dep San Antonio                Restaurant   Checking-PNC      296.18    4,368.89
                                                                                                                       Supplies     Bank
 04/26/2024 Expense                 No   Amazon                 5692 Debit Card Purchase Amzn Mktp US*Bn9220Rq3        Restaurant   Checking-PNC        29.49   4,398.38
                                                                Amzn.com/bi Wa                                         Supplies     Bank
 04/26/2024 Expense                 No                          5692 Debit Card Purchase ebay O*26-11475-57628 408-    Restaurant   Checking-PNC        16.50   4,414.88
                                                                3766151 Ca                                             Supplies     Bank
 04/26/2024 Expense                 No                          POS Purchase Michaels S San Antonio                    Restaurant   Checking-PNC        17.95   4,432.83
                                                                                                                       Supplies     Bank
 04/29/2024 Deposit                 No                          Debit Card Credit Amazon.com Amzn.com/bi Wa            Restaurant   Checking-PNC        -3.22   4,429.61
                                                                                                                       Supplies     Bank
 04/29/2024 Expense                 No   Amazon                 5692 Debit Card Purchase Amazon.com*8N3B40Ta3          Restaurant   Checking-PNC         8.90   4,438.51
                                                                Amzn.com/bi Wa                                         Supplies     Bank
 04/29/2024 Expense                 No   Amazon                 5692 Debit Card Purchase Amazon.com*VI09V2Ll3          Restaurant   Checking-PNC        25.84   4,464.35
                                                                Amzn.com/bi Wa                                         Supplies     Bank
 04/29/2024 Expense                 No   Ace Mart               5692 Debit Card Purchase Ace Mart St Mary Store 210-   Restaurant   Checking-PNC        23.35   4,487.70
                                                                2240082 Tx                                             Supplies     Bank
 04/29/2024 Expense                 No                          5692 Debit Card Purchase ebay O*25-11480-84061 408-    Restaurant   Checking-PNC        85.52   4,573.22
                                                                3766151 Ca                                             Supplies     Bank
 04/29/2024 Expense                 No   Amazon                 5692 Debit Card Purchase Amazon.com*8V50E9W73          Restaurant   Checking-PNC        22.72   4,595.94
                                                                Amzn.com/bi Wa                                         Supplies     Bank
 04/29/2024 Expense                 No   Amazon                 5692 Debit Card Purchase Amazon Prime*U16Fh4O63        Restaurant   Checking-PNC        16.23   4,612.17
                                                                Amzn.com/bi Wa                                         Supplies     Bank
 04/29/2024 Expense                 No   Amazon                 6060 Debit Card Purchase Amazon.com*G70951Tp3          Restaurant   Checking-PNC        22.72   4,634.89
                                                                Amzn.com/bi Wa                                         Supplies     Bank
 04/29/2024 Expense                 No   Family Dollar          POS Purchase Family Dollar San Antonio                 Restaurant   Checking-PNC        10.15   4,645.04
                                                                                                                       Supplies     Bank
 04/29/2024 Expense                 No   Walmart                POS Purchase Wm Supercenter San Antonio                Restaurant   Checking-PNC        99.26   4,744.30
                                                                                                                       Supplies     Bank
 04/29/2024 Expense                 No   Restaurant Depot       POS Purchase Restaurant Dep San Antonio                Restaurant   Checking-PNC      285.78    5,030.08
                                                                                                                       Supplies     Bank
 04/29/2024 Expense                 No   Best Buy               POS Purchase Best Buy San Antonio                      Restaurant   Checking-PNC      100.00    5,130.08
                                                                                                                       Supplies     Bank
 04/29/2024 Expense                 No   Walmart                POS Purchase Wal-Mart #5245 San Antonio                Restaurant   Checking-PNC        18.52   5,148.60
                                                                                                                       Supplies     Bank
Total for Restaurant Supplies                                                                                                                       $5,148.60
TOTAL                                                                                                                                              $18,336.26




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DATE           TRANSACTION          NUM ADJ NAME                    MEMO/DESCRIPTION                                       ACCOUNT             SPLIT          AMOUNT BALANCE
               TYPE
Accounting
 04/12/2024    Expense                  No   Total Impact           Corporate ACH Sale Total Impact Boo                    Accounting          Checking-PNC    1,025.00   1,025.00
                                                                                                                                               Bank
Total for Accounting                                                                                                                                          $1,025.00
Advertising & Marketing
 04/10/2024    Expense                  No   Varrio Dreams Records CHECK 1038 Merch                                        Advertising &       Checking-PNC     891.00     891.00
                                                                                                                           Marketing           Bank
 04/10/2024    Expense                  No   Varrio Dreams Records CHECK 1039 REF. NO. 016890081                           Advertising &       Checking-PNC     350.00    1,241.00
                                                                                                                           Marketing           Bank
 04/12/2024    Expense                  No   Digital Pro Lab        CHECK 1040 REF. NO. 018664650                          Advertising &       Checking-PNC     216.34    1,457.34
                                                                                                                           Marketing           Bank
 04/17/2024    Expense                  No   Digital Pro Lab        CHECK 1044 REF. NO. 010594998                          Advertising &       Checking-PNC     280.10    1,737.44
                                                                                                                           Marketing           Bank
 04/17/2024    Expense                  No                          5692 Debit Card Purchase Dnh*Godaddy.Com               Advertising &       Checking-PNC      22.17    1,759.61
                                                                    https://www Az                                         Marketing           Bank
 04/23/2024    Expense                  No   Imprint                ACH Debit ACH Pmt Imprintp2 Wogvxud6K3Bqi29            Advertising &       Checking-PNC     100.00    1,859.61
                                                                                                                           Marketing           Bank
 04/29/2024    Expense                  No   Varrio Dreams Records CHECK 1057 REF. NO. 017068701                           Advertising &       Checking-PNC     120.00    1,979.61
                                                                                                                           Marketing           Bank
Total for Advertising & Marketing                                                                                                                             $1,979.61
Bank Charges & Fees
 04/01/2024    Expense                  No                          Service Charge Period Ending 03/29/2024                Bank Charges & Fees Checking-PNC     251.00     251.00
                                                                                                                                               Bank
 04/01/2024    Expense                  No                          ATM Mini Statement Fee                                 Bank Charges & Fees Checking-PNC        1.50    252.50
                                                                                                                                               Bank
Total for Bank Charges & Fees                                                                                                                                  $252.50
Business Meals
 04/02/2024    Expense                  No                          5692 Debit Card Purchase Texas Roadhouse #2401 San     Business Meals      Checking-PNC     119.07     119.07
                                                                    Antonio Tx                                                                 Bank
 04/24/2024    Expense                  No                          5692 Debit Card Purchase Pancake Joes San Antonio Tx   Business Meals      Checking-PNC      67.36     186.43
                                                                                                                                               Bank
 04/29/2024    Expense                  No   Mission Restaurant     5692 Debit Card Purchase Mission Restaurant Sup San    Business Meals      Checking-PNC      50.66     237.09
                                             Supplies               Antonio Tx                                                                 Bank
Total for Business Meals                                                                                                                                       $237.09
Car & Truck
 04/04/2024    Expense                  No                          5692 Debit Card Purchase Circle K #2742293 San Antonio Car & Truck         Checking-PNC      40.31      40.31
                                                                    Tx                                                                         Bank
 04/10/2024    Expense                  No                          5692 Debit Card Purchase Murphy Express 8679 San       Car & Truck         Checking-PNC      34.39      74.70
                                                                    Antonio Tx                                                                 Bank
 04/11/2024    Expense                  No                          5692 Debit Card Purchase Shell Oil 57542176300 San     Car & Truck         Checking-PNC      36.18     110.88
                                                                    Antonio Tx                                                                 Bank
 04/12/2024    Expense                  No                          5692 Debit Card Purchase Texaco 0355589 San Antonio    Car & Truck         Checking-PNC        9.96    120.84
                                                                    Tx                                                                         Bank
 04/15/2024    Expense                  No                          POS Purchase Circle K #2742 San Antonio                Car & Truck         Checking-PNC      15.14     135.98
                                                                                                                                               Bank
 04/15/2024    Expense                  No                          POS Purchase Circle K #2742 San Antonio                Car & Truck         Checking-PNC      39.96     175.94
                                                                                                                                               Bank
 04/17/2024    Expense                  No                          POS Purchase Shell Service San Antonio                 Car & Truck         Checking-PNC      36.69     212.63
                                                                                                                                               Bank
 04/17/2024    Expense                  No                          6060 Debit Card Purchase Shell Oil 57542176102 San     Car & Truck         Checking-PNC      43.98     256.61
                                                                    Antonio Tx                                                                 Bank
 04/18/2024    Expense                  No                          POS Purchase Qt 4053 Inside San Antonio                Car & Truck         Checking-PNC      39.96     296.57
                                                                                                                                               Bank
 04/22/2024    Expense                  No                          POS Purchase 7-Eleven 36627 San Antonio                Car & Truck         Checking-PNC      30.13     326.70
                                                                                                                                               Bank
 04/23/2024    Expense                  No                          6060 Debit Card Purchase Shell Oil 57542176102 San     Car & Truck         Checking-PNC      35.27     361.97
                                                                    Antonio Tx                                                                 Bank
 04/24/2024    Expense                  No                          POS Purchase Shell Service San Antonio                 Car & Truck         Checking-PNC      30.00     391.97
                                                                                                                                               Bank
 04/25/2024    Expense                  No                          POS Purchase Specs #197 819 San Antonio                Car & Truck         Checking-PNC      38.45     430.42
                                                                                                                                               Bank
 04/26/2024    Expense                  No                          POS Purchase Shell Service San Antonio                 Car & Truck         Checking-PNC      39.96     470.38
                                                                                                                                               Bank
 04/29/2024    Expense                  No                          POS Purchase Circle K #2742 San Antonio                Car & Truck         Checking-PNC      16.28     486.66
                                                                                                                                               Bank
 04/29/2024    Expense                  No                          5692 Debit Card Purchase Texaco 0355589 San Antonio    Car & Truck         Checking-PNC      38.29     524.95
                                                                    Tx                                                                         Bank
 04/30/2024    Expense                  No                          POS Purchase Shell Service San Antonio                 Car & Truck         Checking-PNC      25.58     550.53
                                                                                                                                               Bank

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DATE           TRANSACTION        NUM ADJ NAME                          MEMO/DESCRIPTION                                       ACCOUNT                SPLIT          AMOUNT BALANCE
               TYPE
Total for Car & Truck                                                                                                                                                 $550.53
Contractors
 04/05/2024    Expense                  No   Francisco Garcia           CHECK 1034 REF. NO. 013978090                          Contractors            Checking-PNC     700.00     700.00
                                                                                                                                                      Bank
 04/09/2024    Expense                  No   Jessica Del Valle          CHECK 1037 REF. NO. 016696855                          Contractors            Checking-PNC     750.00    1,450.00
                                                                                                                                                      Bank
 04/09/2024    Expense                  No   Pablo Rios                 CHECK 10000 reimburse for pymnt to Refugio             Contractors            Checking-PNC    1,000.00   2,450.00
                                                                                                                                                      Bank
 04/12/2024    Expense                  No   Johnny Tejeda              CHECK 1046 REF. NO. 018906661                          Contractors            Checking-PNC     300.00    2,750.00
                                                                                                                                                      Bank
 04/12/2024    Expense                  No   Joe Garcia                 CHECK 1043 REF. NO. 018906736                          Contractors            Checking-PNC     300.00    3,050.00
                                                                                                                                                      Bank
 04/15/2024    Expense                  No   Kimberly Robles            CHECK 1035 REF. NO. 009111030                          Contractors            Checking-PNC      70.00    3,120.00
                                                                                                                                                      Bank
 04/17/2024    Expense                  No   Julia O'Valle              CHECK 1053 REF. NO. 010286547                          Contractors            Checking-PNC     360.00    3,480.00
                                                                                                                                                      Bank
 04/18/2024    Expense                  No   Jessica Del Valle          CHECK 1079 REF. NO. 011294018                          Contractors            Checking-PNC     190.00    3,670.00
                                                                                                                                                      Bank
 04/18/2024    Expense                  No   Julian Garza               CHECK 1054 REF. NO. 010947161                          Contractors            Checking-PNC     450.00    4,120.00
                                                                                                                                                      Bank
 04/18/2024    Expense                  No   Eric Cardenas              CHECK 1055 REF. NO. 011075791                          Contractors            Checking-PNC    1,305.00   5,425.00
                                                                                                                                                      Bank
 04/19/2024    Expense                  No   Francisco Garcia           CHECK 1056 REF. NO. 011665285                          Contractors            Checking-PNC     700.00    6,125.00
                                                                                                                                                      Bank
 04/22/2024    Expense                  No   Reanna Castruita           CHECK 1052 REF. NO. 012883063                          Contractors            Checking-PNC     936.00    7,061.00
                                                                                                                                                      Bank
 04/22/2024    Expense                  No   Jessica Del Valle          CHECK 1081 REF. NO. 013454615                          Contractors            Checking-PNC     500.00    7,561.00
                                                                                                                                                      Bank
 04/22/2024    Expense                  No   Jessica Del Valle          CHECK 1080 REF. NO. 013454614                          Contractors            Checking-PNC     750.00    8,311.00
                                                                                                                                                      Bank
 04/29/2024    Expense                  No   Joe Garcia                 CHECK 1065 REF. NO. 017310295                          Contractors            Checking-PNC     200.00    8,511.00
                                                                                                                                                      Bank
Total for Contractors                                                                                                                                                $8,511.00
Dues & Subscriptions
 04/03/2024    Expense                  No   Paramount                  5692 Recurring Debit Card Paramount+ 888-27453         Dues & Subscriptions   Checking-PNC        6.48       6.48
                                                                        Effective 04-02-24                                                            Bank
 04/26/2024    Expense                  No   Fubo TV                    5692 Recurring Debit Card Fubotv Inc 844-44138         Dues & Subscriptions   Checking-PNC     113.64     120.12
                                                                                                                                                      Bank
 04/29/2024    Expense                  No                              ACH Web Onlinepay Ridge At Sala456 1350287             Dues & Subscriptions   Checking-PNC     400.00     520.12
                                                                                                                                                      Bank
 04/29/2024    Expense                  No                              ACH Web Assn Dues Acct Integrators 1350287             Dues & Subscriptions   Checking-PNC        1.99    522.11
                                                                                                                                                      Bank
Total for Dues & Subscriptions                                                                                                                                        $522.11
Insurance
 04/29/2024    Expense                  No   Bristol West Insurance     Corporate ACH EFT Pymt                                 Insurance              Checking-PNC    1,049.38   1,049.38
                                                                                                                                                      Bank
 Total for Insurance                                                                                                                                                 $1,049.38
 Medical
  04/16/2024 Expense                    No   First Enroll-Health        6060 Debit Card Purchase First Enroll-Health Pl 844-   Insurance:Medical      Checking-PNC     168.50     168.50
                                                                        8367655 NJ                                                                    Bank
 Total for Medical                                                                                                                                                    $168.50
Total for Insurance with sub-accounts                                                                                                                                $1,217.88
Landscaping Service
 04/22/2024    Expense                  No   Ramirez Lawn Care          5692 Debit Card Purchase Sq *Ramirez Lawn Care         Landscaping Service    Checking-PNC      80.00      80.00
                                                                        gosq.com Tx                                                                   Bank
 04/29/2024    Expense                  No   Ramirez Lawn Care          5692 Debit Card Purchase Sq *Ramirez Lawn Care         Landscaping Service    Checking-PNC      75.00     155.00
                                                                        gosq.com Tx                                                                   Bank
Total for Landscaping Service                                                                                                                                         $155.00
Laundry & Cleaning
 04/19/2024    Expense                  No   CNC Laundry                5692 Debit Card Purchase Cnclaundry.Com Httpscnclau    Laundry & Cleaning     Checking-PNC      25.98      25.98
                                                                        Tx                                                                            Bank
 04/29/2024    Expense                  No   CNC Laundry                5692 Debit Card Purchase Cnclaundry.Com Httpscnclau    Laundry & Cleaning     Checking-PNC      13.83      39.81
                                                                        Tx                                                                            Bank
Total for Laundry & Cleaning                                                                                                                                           $39.81
Meals & Entertainment
 04/02/2024    Expense                  No                              5692 Debit Card Purchase La Parrilla Mexican Re San    Meals &                Checking-PNC      24.91      24.91
                                                                        Antonio Tx                                             Entertainment          Bank
 04/02/2024    Expense                  No                              6060 Debit Card Purchase DD Doordash Shangrila 855-    Meals &                Checking-PNC      29.05      53.96

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DATE          TRANSACTION   NUM ADJ NAME                MEMO/DESCRIPTION                                         ACCOUNT             SPLIT          AMOUNT BALANCE
              TYPE
                                                        9731040 Ca                                               Entertainment       Bank
 04/02/2024   Expense           No                      6060 Debit Card Purchase Chick-Fil-A #01807 San          Meals &             Checking-PNC     16.17      70.13
                                                        Antonio Tx                                               Entertainment       Bank
 04/02/2024   Expense           No                      6060 Debit Card Purchase DD Doordash Marcospiz 855-      Meals &             Checking-PNC     30.40     100.53
                                                        9731040 Ca                                               Entertainment       Bank
 04/02/2024   Expense           No                      5692 Debit Card Purchase Sonic #5811 San Anton           Meals &             Checking-PNC     15.76     116.29
                                                        Effective 04-01-24                                       Entertainment       Bank
 04/02/2024   Expense           No                      5692 Debit Card Purchase La Parrilla Mexican Re San      Meals &             Checking-PNC        1.10   117.39
                                                        Antonio Tx                                               Entertainment       Bank
 04/02/2024   Expense           No                      5692 Debit Card Purchase Qt 4053 Inside San Antonio Tx   Meals &             Checking-PNC        9.96   127.35
                                                                                                                 Entertainment       Bank
 04/02/2024   Expense           No                      5692 Debit Card Purchase Tst* Burger Boy 5 - NE San      Meals &             Checking-PNC        8.96   136.31
                                                        Antonio Tx                                               Entertainment       Bank
 04/02/2024   Expense           No   The Haven          5692 Debit Card Purchase The Haven Southtown Me 210- Meals &                 Checking-PNC     43.50     179.81
                                                        5332171 Tx                                           Entertainment           Bank
 04/03/2024   Expense           No                      5692 Debit Card Purchase Shell Oil 57542176102 San       Meals &             Checking-PNC        9.96   189.77
                                                        Antonio Tx                                               Entertainment       Bank
 04/04/2024   Expense           No                      5692 Debit Card Purchase Py *Kungfu Tea San Antonio      Meals &             Checking-PNC     12.50     202.27
                                                        Tx                                                       Entertainment       Bank
 04/09/2024   Expense           No                      5692 Debit Card Purchase Orange Leaf San Anton           Meals &             Checking-PNC     21.73     224.00
                                                                                                                 Entertainment       Bank
 04/09/2024   Expense           No                      5692 Debit Card Purchase La Parrilla Mexican Re San      Meals &             Checking-PNC     17.33     241.33
                                                        Antonio Tx                                               Entertainment       Bank
 04/10/2024   Expense           No                      5692 Debit Card Purchase Sq *Malik's Philly's P gosq.com Meals &             Checking-PNC     20.84     262.17
                                                        Tx                                                       Entertainment       Bank
 04/10/2024   Expense           No                      5692 Debit Card Purchase La Parrilla Mexican Re San      Meals &             Checking-PNC     12.02     274.19
                                                        Antonio Tx                                               Entertainment       Bank
 04/10/2024   Expense           No                      5692 Debit Card Purchase La Michoacana San Anto San      Meals &             Checking-PNC     26.04     300.23
                                                        Antonio Tx                                               Entertainment       Bank
 04/10/2024   Expense           No                      5692 Debit Card Purchase Py *Kung Fu Tea - San San       Meals &             Checking-PNC     11.53     311.76
                                                        Antonio Tx                                               Entertainment       Bank
 04/11/2024   Expense           No                      5692 Debit Card Purchase Juice Joint San Anton           Meals &             Checking-PNC     23.99     335.75
                                                                                                                 Entertainment       Bank
 04/12/2024   Expense           No                      POS Purchase Chicho Boys Fr San Antonio                  Meals &             Checking-PNC        8.98   344.73
                                                                                                                 Entertainment       Bank
 04/15/2024   Expense           No                      5692 Debit Card Purchase Tst* Burger Boy 5 - NE San      Meals &             Checking-PNC        8.96   353.69
                                                        Antonio Tx                                               Entertainment       Bank
 04/15/2024   Expense           No                      5692 Debit Card Purchase Py *Kungfu Tea San Antonio      Meals &             Checking-PNC        6.25   359.94
                                                        Tx                                                       Entertainment       Bank
 04/15/2024   Expense           No                      5692 Debit Card Purchase Tst* Burger Boy 5 - NE San      Meals &             Checking-PNC     29.88     389.82
                                                        Antonio Tx                                               Entertainment       Bank
 04/16/2024   Expense           No                      5692 Debit Card Purchase Marcos Pizza - 5236 210-        Meals &             Checking-PNC     25.96     415.78
                                                        7745200 Tx                                               Entertainment       Bank
 04/16/2024   Expense           No                      6060 Debit Card Purchase La Parrilla Mexican Re San      Meals &             Checking-PNC     37.22     453.00
                                                        Antonio Tx                                               Entertainment       Bank
 04/16/2024   Expense           No                      5692 Debit Card Purchase Py *Kung Fu Tea - San San       Meals &             Checking-PNC        5.25   458.25
                                                        Antonio Tx                                               Entertainment       Bank
 04/17/2024   Expense           No                      5692 Debit Card Purchase Py *Kungfu Tea San Antonio      Meals &             Checking-PNC     27.57     485.82
                                                        Tx                                                       Entertainment       Bank
 04/17/2024   Expense           No                      POS Purchase Chicho Boys Fr San Antonio                  Meals &             Checking-PNC     26.04     511.86
                                                                                                                 Entertainment       Bank
 04/17/2024   Expense           No                      5692 Debit Card Purchase Tst* Burger Boy 5 - NE San      Meals &             Checking-PNC     11.11     522.97
                                                        Antonio Tx                                               Entertainment       Bank
 04/18/2024   Expense           No                      5692 Debit Card Purchase DD Doordash 85Cbakery 855-      Meals &             Checking-PNC     41.48     564.45
                                                        9731040 Ca                                               Entertainment       Bank
 04/18/2024   Expense           No                      5692 Debit Card Purchase DD *Doordashdashpass            Meals &             Checking-PNC        9.99   574.44
                                                        Www.Doordas Ca                                           Entertainment       Bank
 04/18/2024   Expense           No                      5692 Debit Card Purchase 54TH Street 028 Olo 210-        Meals &             Checking-PNC     18.49     592.93
                                                        3425454 Tx                                               Entertainment       Bank
 04/19/2024   Expense           No   The Haven          5692 Debit Card Purchase The Haven Southtown Me 210- Meals &                 Checking-PNC     36.59     629.52
                                                        5332171 Tx                                           Entertainment           Bank
 04/19/2024   Expense           No                      5692 Debit Card Purchase Tst* Burger Boy 5 - NE San      Meals &             Checking-PNC        8.96   638.48
                                                        Antonio Tx                                               Entertainment       Bank
 04/22/2024   Expense           No                      5692 Debit Card Purchase Py *Kung Fu Tea - San San       Meals &             Checking-PNC        6.25   644.73
                                                        Antonio Tx                                               Entertainment       Bank
 04/22/2024   Expense           No                      5692 Debit Card Purchase La Parrilla Mexican Re San      Meals &             Checking-PNC     42.32     687.05
                                                        Antonio Tx                                               Entertainment       Bank
 04/22/2024   Expense           No                      5692 Debit Card Purchase Py *Kung Fu Tea - San San       Meals &             Checking-PNC        6.25   693.30
                                                        Antonio Tx                                               Entertainment       Bank
 04/22/2024   Expense           No                      5692 Debit Card Purchase DD Doordash Popshelf 855-       Meals &             Checking-PNC     21.49     714.79


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DATE            TRANSACTION        NUM ADJ NAME                    MEMO/DESCRIPTION                                       ACCOUNT              SPLIT          AMOUNT BALANCE
                TYPE
                                                                   9731040 Ca                                             Entertainment        Bank
 04/23/2024     Expense                No   The Haven              5692 Debit Card Purchase The Haven Southtown Me 210- Meals &                Checking-PNC     39.50     754.29
                                                                   5332171 Tx                                           Entertainment          Bank
 04/26/2024     Expense                No                          5692 Debit Card Purchase DD Doordash Magnoliab 855-    Meals &              Checking-PNC     22.19     776.48
                                                                   9731040 Ca                                             Entertainment        Bank
 04/29/2024     Expense                No                          6060 Debit Card Purchase Py *Kung Fu Tea - San San     Meals &              Checking-PNC     21.22     797.70
                                                                   Antonio Tx                                             Entertainment        Bank
 04/29/2024     Expense                No                          5692 Debit Card Purchase Whataburger 661 San Antonio   Meals &              Checking-PNC     16.85     814.55
                                                                   Tx                                                     Entertainment        Bank
 04/30/2024     Expense                No                          5692 Debit Card Purchase Py *Kung Fu Tea - San San     Meals &              Checking-PNC        5.25   819.80
                                                                   Antonio Tx                                             Entertainment        Bank
 04/30/2024     Expense                No                          POS Purchase Hung Phong Ori San Antonio                Meals &              Checking-PNC     29.64     849.44
                                                                                                                          Entertainment        Bank
 04/30/2024     Expense                No                          5692 Debit Card Purchase Sq *Sweet Baker San Antonio   Meals &              Checking-PNC        8.16   857.60
                                                                   Tx                                                     Entertainment        Bank
Total for Meals & Entertainment                                                                                                                               $857.60
Merchant Service Fees
 04/02/2024     Expense                No                          PNC Merchant Discount 277324705999                     Merchant Service     Checking-PNC    723.31     723.31
                                                                                                                          Fees                 Bank
 04/02/2024     Expense                No                          PNC Merchant Fee       277324705999                    Merchant Service     Checking-PNC     12.95     736.26
                                                                                                                          Fees                 Bank
 04/10/2024     Expense                No   Clover                 ACH Debit Clover App                                   Merchant Service     Checking-PNC    136.22     872.48
                                                                                                                          Fees                 Bank
 04/22/2024     Deposit                No                          PNC Merchant Fee       277324705999                    Merchant Service     Checking-PNC    -300.00    572.48
                                                                                                                          Fees                 Bank
Total for Merchant Service Fees                                                                                                                               $572.48
Office Supplies & Software
 04/15/2024     Expense                No   CM Ecommerce           6060 Debit Card Purchase CM Ecommerce #654 855-        Office Supplies &    Checking-PNC     97.63      97.63
                                                                   8030611 Tx                                             Software             Bank
 04/22/2024     Expense                No   CM Ecommerce           6060 Debit Card Purchase CM Ecommerce #654 855-        Office Supplies &    Checking-PNC    159.71     257.34
                                                                   8030611 Tx                                             Software             Bank
 04/23/2024     Expense                No   Fortiva                5692 Debit Card Purchase Fortiva 855-8025572 G         Office Supplies &    Checking-PNC     73.95     331.29
                                                                                                                          Software             Bank
Total for Office Supplies & Software                                                                                                                          $331.29
Parking/Tolls
 04/15/2024     Expense                No                          6060 Debit Card Purchase Cosa - Meters 210-2078668 Tx Parking/Tolls         Checking-PNC        4.00     4.00
                                                                                                                                               Bank
 04/16/2024     Expense                No                          6060 Debit Card Purchase Cosa - Meters 210-2078668 Tx Parking/Tolls         Checking-PNC        4.00     8.00
                                                                                                                                               Bank
 04/24/2024     Expense                No                          5692 Debit Card Purchase Cosa - Alamodome Parki 210-   Parking/Tolls        Checking-PNC     10.00      18.00
                                                                   2078653 Tx                                                                  Bank
 04/29/2024     Expense                No                          6060 Debit Card Purchase Cosa - Court Kiosk            Parking/Tolls        Checking-PNC     34.00      52.00
                                                                   Sanantonio. Tx                                                              Bank
Total for Parking/Tolls                                                                                                                                        $52.00
Postage & Shipping
 04/30/2024     Expense                No   UPS                    6060 Debit Card Purchase The UPS Store 6010 210-       Postage & Shipping   Checking-PNC        6.13     6.13
                                                                   8595900 Tx                                                                  Bank
Total for Postage & Shipping                                                                                                                                    $6.13
Small Equipment
 04/23/2024     Expense                No   Affirm                 N0423 5692 Payment Affirm San Francisc Ca              Small Equipment      Checking-PNC     20.17      20.17
                                                                                                                                               Bank
 04/23/2024     Expense                No   Affirm                 N0423 5692 Payment Affirm San Francisc Ca              Small Equipment      Checking-PNC     23.66      43.83
                                                                                                                                               Bank
 04/29/2024     Expense                No   Affirm                 ACH Web-Recur Affirm Pay Affirm Inc 2186795            Small Equipment      Checking-PNC     69.15     112.98
                                                                                                                                               Bank
Total for Small Equipment                                                                                                                                     $112.98
Taxes & Licenses
 04/10/2024     Expense                No   FDMS                   Corporate ACH Fdms Pymt Fdms 052-2150044-000           Taxes & Licenses     Checking-PNC    325.83     325.83
                                                                                                                                               Bank
 04/18/2024     Expense                No   Development Services   5692 Debit Card Purchase Development Services 210-     Taxes & Licenses     Checking-PNC    100.00     425.83
                                                                   2078375 Tx                                                                  Bank
 04/24/2024     Expense                No                          Corporate ACH DD Webfile Tax Pymt 902/75586875         Taxes & Licenses     Checking-PNC     52.00     477.83
                                                                                                                                               Bank
Total for Taxes & Licenses                                                                                                                                    $477.83
Travel
 04/02/2024     Expense                No                          5692 Debit Card Purchase Cosa - Sat Airport Par 210-   Travel               Checking-PNC        3.00     3.00
                                                                   2073454 Tx                                                                  Bank
 04/15/2024     Expense                No   Airbnb                 5692 Debit Card Purchase Klarna*airbnb 184-4552762 Oh Travel                Checking-PNC    108.08     111.08

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DATE               TRANSACTION   NUM ADJ NAME                    MEMO/DESCRIPTION                                       ACCOUNT         SPLIT           AMOUNT BALANCE
                   TYPE
                                                                                                                                        Bank
 04/19/2024        Expense           No                          POS Purchase Lyft San Francisc Ca                      Travel          Checking-PNC       17.22     128.30
                                                                                                                                        Bank
 04/23/2024        Expense           No   Airbnb                 5692 Debit Card Purchase Klarna* Airbnb Klarna.Com Oh Travel           Checking-PNC      110.77     239.07
                                                                                                                                        Bank
 04/29/2024        Expense           No                          6060 Debit Card Purchase American Air0017012899 Fort   Travel          Checking-PNC      297.60     536.67
                                                                 Worth Tx                                                               Bank
 04/29/2024        Expense           No                          6060 Debit Card Purchase American Air0017012899 Fort   Travel          Checking-PNC      297.60     834.27
                                                                 Worth Tx                                                               Bank
 04/29/2024        Expense           No   Airbnb                 5692 Debit Card Purchase Klarna*airbnb 184-4552762 Oh Travel           Checking-PNC      108.08     942.35
                                                                                                                                        Bank
Total for Travel                                                                                                                                         $942.35
Utilities
 04/08/2024        Expense           No                          ACH Web Spectrum Spectrum 6066297                      Utilities       Checking-PNC        47.24     47.24
                                                                                                                                        Bank
 04/15/2024        Expense           No                          ACH Debit Spectrum Spectrum 8078563                    Utilities       Checking-PNC      247.09     294.33
                                                                                                                                        Bank
 04/18/2024        Expense           No                          5692 Debit Card Purchase City Of San Antonio 210-      Utilities       Checking-PNC      100.00     394.33
                                                                 2071111 Tx                                                             Bank
 04/22/2024        Expense           No   CPS Energy             ACH Web Utility Cpsenergy Ezpay 0406337                Utilities       Checking-PNC      128.40     522.73
                                                                                                                                        Bank
 04/25/2024        Expense           No   SA Water               ACH Web Web Debits                                     Utilities       Checking-PNC        63.56    586.29
                                                                                                                                        Bank
 04/25/2024        Expense           No   SA Water               ACH Web Web Debits                                     Utilities       Checking-PNC       56.90     643.19
                                                                                                                                        Bank
 04/25/2024        Expense           No   City Public Services   Corporate ACH Cps Webpmt                               Utilities       Checking-PNC      138.15     781.34
                                                                                                                                        Bank
 04/29/2024        Expense           No   City Public Services   Corporate ACH Cps Webpmt                               Utilities       Checking-PNC      239.00    1,020.34
                                                                                                                                        Bank
Total for Utilities                                                                                                                                     $1,020.34
TOTAL                                                                                                                                                  $18,863.53




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                     Barrio Restaurant Group, LLC
                             Balance Sheet
                                  As of April 30, 2024

                                                                    Total
ASSETS
 Current Assets
   Bank Accounts
    Checking-PNC Bank                                                          977.23
   Total Bank Accounts                                 $                       977.23
   Other Current Assets
    Food Inventory                                                             800.00
    Loan to Barrio Dogg LLC                                                   3,806.67
    Total Other Current Assets                         $                      4,606.67
 Total Current Assets                                  $                      5,583.90
 Fixed Assets
  Office Furniture & Fixtures                                                16,000.00
  Tenant Improvements                                                       321,698.59
  Total Fixed Assets                                   $                    337,698.59
TOTAL ASSETS                                           $                    343,282.49
LIABILITIES AND EQUITY
 Liabilities
   Current Liabilities
    Other Current Liabilities
      Loan from Marilu Marcq                                                 20,000.00
      Loan Payable-Pable Rios                                                50,000.00
    Total Other Current Liabilities                    $                     70,000.00
   Total Current Liabilities                           $                     70,000.00
 Total Liabilities                                     $                     70,000.00
 Equity
  Opening Equity                                                            266,142.96
   Owner's Pay & Personal Expenses                                              -19.34
   Net Income                                                                 7,158.87
 Total Equity                                          $                    273,282.49
TOTAL LIABILITIES AND EQUITY                           $                    343,282.49




                     Sunday, Jun 02, 2024 07:08:04 PM GMT-7 - Cash Basis
             Case 24-01184-CL11   Filed 06/11/24    Entered 06/11/24 12:33:19      Doc 42   Pg. 21 of
                                                      34
                                              
                                                Profit and Loss
                                                    


                                                                                                          TOTAL
Income
 Restaurant Sales                                                                                       44,358.66
Total Income                                                                                        $44,358.66
Cost of Goods Sold
 Alcohol Purchases                                                                                       5,223.01
 Food Costs                                                                                              7,964.65
 Restaurant Supplies                                                                                     5,148.60
Total Cost of Goods Sold                                                                            $18,336.26
GROSS PROFIT                                                                                        $26,022.40
Expenses
 Accounting                                                                                              1,025.00
 Advertising & Marketing                                                                                 1,979.61
 Bank Charges & Fees                                                                                      252.50
 Business Meals                                                                                           237.09
 Car & Truck                                                                                              550.53
 Contractors                                                                                             8,511.00
 Dues & Subscriptions                                                                                     522.11
 Insurance                                                                                               1,049.38
  Medical                                                                                                 168.50
 Total Insurance                                                                                         1,217.88
 Landscaping Service                                                                                      155.00
 Laundry & Cleaning                                                                                        39.81
 Meals & Entertainment                                                                                    857.60
 Merchant Service Fees                                                                                    572.48
 Office Supplies & Software                                                                               331.29
 Parking/Tolls                                                                                             52.00
 Postage & Shipping                                                                                          6.13
 Small Equipment                                                                                          112.98
 Taxes & Licenses                                                                                         477.83
 Travel                                                                                                   942.35
 Utilities                                                                                               1,020.34
Total Expenses                                                                                      $18,863.53
NET OPERATING INCOME                                                                                    $7,158.87
NET INCOME                                                                                              $7,158.87




                              Cash Basis Sunday, June 2, 2024 07:04 PM GMT-07:00                              1/1
    Case 24-01184-CL11                        Filed 06/11/24                Entered 06/11/24 12:33:19                        Doc 42         Pg. 22 of
                                                                              34
Business Checking
PNC Bank
                                 For the Period 04/01/2024 to 04/30/2024             Primary Account Number:               8966
                                                                                     Page 1 of 13
                                                                                     Number of enclosures: 0

                                 BARRIO RESTAURANT GROUP LLC #24-                         For 24-hour banking sign on to
                                 0118
                                 DEBTOR IN POSSESSION                                     PNC Bank Online Banking on pnc.com
                                 620 S PRESA ST                                           FREE Online Bill Pay
                                 SAN ANTONIO TX 78210-1054
                                                                                          For customer service call 1-877-BUS-BNKG
                                                                                          PNC accepts Telecommunications Relay Service (TRS)
                                                                                          calls.
                                                                                          Para servicio en espanol, 1-877-BUS-BNKG

                                                                                     Moving? Please contact your local branch

                                                                                          Write to: Customer Service
                                                                                          PO Box 609
                                                                                          Pittsburgh, PA 15230-9738
                                                                                          Visit us at PNC.com/smallbusiness


IMPORTANT ACCOUNT INFORMATION

The information below amends certain information in our Consumer and Business Schedules of Service Charges
and Fees and our Features and Fees ("Schedules"). All other information in our Schedules continues to apply
to your account. Please read this information and retain it with your records.

Effective February 26, 2024, consumer and business deposit accounts that are enrolled to receive Paper
Statements with Check Images will be charged only the Paper Statement Fee if there are no check images for
that statement period.
                                                                                                            Barrio Restaurant Group Llc #24-0118
Business Checking Summary                                                                                   Debtor In Possession
Account number:              8966

Overdraft Protection has not been established for this account.
Please contact us if you would like to set up this service.

Balance Summary
                                                Beginning                 Deposits and            Checks and other                 Ending
                                                  balance               other additions                deductions                 balance
                                               4,566.00                   45,161.88                    44,184.65             5,543.23




Overdraft and Returned Item Fee Summary
                                                        Total for this Period     Total Year to Date

Total Overdraft Fees                                                    .00                 36.00
Total Returned Item Fees (NSF)                                          .00                 36.00


Deposits and Other Additions                                                       Checks and Other Deductions
Description                                     Items                 Amount       Description                                     Items             Amount
Deposits                                            2                935.00        Checks                                             25           12,851.34
ATM Deposits and Additions                          2                525.22        Debit Card Purchases                              149           10,232.80
Other Additions                                    27             43,701.66        POS Purchases                                      58            3,915.55
                                                                                   ATM/Misc. Debit Card                               10            3,883.95
                                                                                   Transactions
                                                                                   ACH Deductions                                     27           11,812.25
                                                                                   Service Charges and Fees                            4              988.76
                                                                                   Other Deductions                                    1              500.00
Total                                              31             45,161.88        Total                                             274           44,184.65
    Case 24-01184-CL11                                 Filed 06/11/24        Entered 06/11/24 12:33:19                 Doc 42        Pg. 23 of
                                                                               34
Business Checking
       For 24-hour account information, sign-on to                                       For the Period 04/01/2024 to 04/30/2024
       pnc.com/mybusiness/                                                               Barrio Restaurant Group Llc #24-0118
                                                                                         Primary Account Number:           8966
Business Checking Account Number:                         8966 - continued               Page 2 of 13

Daily Balance
Date                                  Ledger balance         Date                  Ledger balance        Date                      Ledger balance
04/01                                    12,368.78           04/11                   10,618.27           04/22                        4,847.74
04/02                                    10,284.75           04/12                    9,451.36           04/23                        4,919.29
04/03                                     9,708.94           04/15                   12,636.73           04/24                        4,116.62
04/04                                    10,377.77           04/16                    9,986.15           04/25                        3,975.82
04/05                                    10,513.99           04/17                    7,308.52           04/26                        4,164.61
04/08                                    15,332.84           04/18                    4,623.91           04/29                        6,411.05
04/09                                    13,762.85           04/19                    4,215.89           04/30                        5,543.23
04/10                                    11,410.97

Activity Detail
Deposits and Other Additions
Deposits
Date                                                        Transaction                                                                    Reference
posted                                           Amount     description                                                                      number
04/09                                           435.00      Deposit                                                                     036540450
04/23                                           500.00      Mobile Deposit                                                              079613624

ATM Deposits and Additions
Date                                                        Transaction                                                                    Reference
posted                                           Amount     description                                                                      number
04/01                                           522.00      ATM Deposit 1014 Goliad Rd San Antonio                        82040274 PNC PJ4602
04/29                                             3.22      Debit Card Credit Amazon.com Amzn.com/bi Wa                  22280910008065692119

Other Additions
Date                                                        Transaction                                                                    Reference
posted                                           Amount     description                                                                      number
04/01                                        1,991.78       PNC Merchant Deposit   277324705999                              277324705999      NKY
                                                            Effective 03-30-24
04/01                                        4,148.62       PNC Merchant Deposit   277324705999                              277324705999      NKY
                                                            Effective 03-31-24
04/01                                        1,392.88       PNC Merchant Deposit   277324705999                              277324705999      NKY
04/04                                          763.88       PNC Merchant Deposit   277324705999                              277324705999      NKY
04/05                                          836.22       PNC Merchant Deposit   277324705999                              277324705999      NKY
04/08                                        1,805.89       PNC Merchant Deposit   277324705999                              277324705999      NKY
                                                            Effective 04-06-24
04/08                                        2,310.09       PNC Merchant Deposit   277324705999                              277324705999      NKY
                                                            Effective 04-07-24
04/08                                        2,750.11       PNC Merchant Deposit   277324705999                              277324705999      NKY
04/11                                        1,032.44       PNC Merchant Deposit   277324705999                              277324705999      NKY
04/12                                          913.70       PNC Merchant Deposit   277324705999                              277324705999      NKY
04/15                                        1,320.74       PNC Merchant Deposit   277324705999                              277324705999      NKY
                                                            Effective 04-13-24
04/15                                        2,320.13       PNC Merchant Deposit   277324705999                              277324705999      NKY
                                                            Effective 04-14-24
04/15                                        2,881.07       PNC Merchant Deposit   277324705999                              277324705999      NKY
04/16                                           64.09       PNC Merchant Deposit   277324705999                              277324705999      NKY
04/18                                          847.23       PNC Merchant Deposit   277324705999                              277324705999      NKY
04/19                                        1,120.15       PNC Merchant Deposit   277324705999                              277324705999      NKY
04/22                                        2,101.31       PNC Merchant Deposit   277324705999                              277324705999      NKY
                                                            Effective 04-20-24




Other Additions continued on next page
    Case 24-01184-CL11                                 Filed 06/11/24               Entered 06/11/24 12:33:19                          Doc 42    Pg. 24 of
                                                                                      34
Business Checking
    For 24-hour account information, sign-on to                                                For the Period 04/01/2024 to 04/30/2024
    pnc.com/mybusiness/                                                                        Barrio Restaurant Group Llc #24-0118
                                                                                               Primary Account Number:                   8966
Business Checking Account Number:                            8966 - continued                  Page 3 of 13

Other Additions                continued
Date                                                              Transaction                                                                            Reference
posted                                        Amount              description                                                                              number

04/22                                     1,839.78                PNC Merchant Deposit 277324705999                                       277324705999         NKY
                                                                  Effective 04-21-24
04/22                                        300.00               PNC Merchant Fee    277324705999                                        277324705999         NKY
                                                                  Effective 04-21-24
04/22                                     2,737.11                PNC Merchant Deposit 277324705999                                       277324705999         NKY
04/23                                       166.23                PNC Merchant Deposit 277324705999                                       277324705999         NKY
04/25                                       740.92                PNC Merchant Deposit 277324705999                                       277324705999         NKY
04/26                                     1,110.27                PNC Merchant Deposit 277324705999                                       277324705999         NKY
04/29                                     1,750.05                PNC Merchant Deposit 277324705999                                       277324705999         NKY
                                                                  Effective 04-27-24
04/29                                     3,389.55                PNC Merchant Deposit 277324705999                                       277324705999         NKY
                                                                  Effective 04-28-24
04/29                                     3,014.48                PNC Merchant Deposit 277324705999                                       277324705999         NKY
04/30                                        52.94                PNC Merchant Deposit 277324705999                                       277324705999         NKY

Checks and Other Deductions
Checks and Substitute Checks                                      * Gap in check sequence
Date   Check                                  Reference            Date   Check                        Reference     Date   Check                             Reference
posted number                          Amount   number             posted number            Amount       number      posted number                Amount        number
04/05    1034 *                          700.00       013978090    04/22   1049 *             684.00     079260964   04/30   1061 *                  846.00     017889040
04/15    1035                             70.00       009111030    04/25   1051 *             189.00     015667102   04/29   1062                    730.10     017418928
04/09    1037 *                          750.00       016696855    04/22   1052               936.00     012883063   04/29   1064 *                   33.80     017412584
04/10    1038                            891.00       016890105    04/17   1053               360.00     010286547   04/29   1065                    200.00     017310295
04/10    1039                            350.00       016890081    04/18   1054               450.00     010947161   04/18   1079 *                  190.00     011294018
04/12    1040                            216.34       018664650    04/18   1055             1,305.00     011075791   04/22   1080                    750.00     013454614
04/12    1043 *                          300.00       018906736    04/19   1056               700.00     011665285   04/22   1081                    500.00     013454615
04/17    1044                            280.10       010594998    04/29   1057               120.00     017068701   04/09   10000 *               1,000.00     016252068
04/12    1046 *                          300.00       018906661


Debit Card Purchases
Date                                              Transaction                                                                                            Reference
posted                           Amount           description                                                                                              number
04/02                           197.79            5692 Debit Card Purchase Samsclub #4939                                                   87595910008065692091

                                                  San Antonio Tx
04/02                           155.75            5692 Debit Card Purchase H-E-B #699 San Antoni                                            87589910008065692091

                                                  Effective 04-01-24
04/02                           150.68            5692 Debit Card Purchase Wal-Mart #5245                                                   87591910008065692091

                                                  San Antonio Tx
04/02                           119.07            5692 Debit Card Purchase Texas Roadhouse #2401                                            93243910008065692092

                                                  San Antonio Tx
04/02                             99.55           5692 Debit Card Purchase Presa Foodmart                                                   93248910008065692092

                                                  San Antonio Tx
04/02                             95.99           5692 Debit Card Purchase Wm Supercenter #5245                                             93244910008065692092

                                                  San Antonio Tx
04/02                             88.58           5692 Debit Card Purchase Sq *Solano Produce Llc                                           87588910008065692091

                                                  San Antonio Tx
04/02                             84.87           5692 Debit Card Purchase H-E-B San Antonio Tx                                             87592910008065692091

                                                  Effective 04-01-24
04/02                             76.49           5692 Debit Card Purchase Ace Mart St Mary Store                                           87596910008065692091

                                                  210-2240082 Tx
04/02                             43.50           5692 Debit Card Purchase The Haven Southtown Me                                           93252910008065692092

                                                  210-5332171 Tx




Debit Card Purchases continued on next page
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                                                                                 34
Business Checking
    For 24-hour account information, sign-on to                                        For the Period 04/01/2024 to 04/30/2024
    pnc.com/mybusiness/                                                                Barrio Restaurant Group Llc #24-0118
                                                                                       Primary Account Number:           8966
Business Checking Account Number:                           8966 - continued           Page 4 of 13

Debit Card Purchases                       - continued
Date                                              Transaction                                                                           Reference
posted                           Amount           description                                                                             number

04/02                             30.40           6060 Debit Card Purchase DD Doordash Marcospiz                             70895910095936060091

                                                  855-9731040 Ca
04/02                             29.05           6060 Debit Card Purchase DD Doordash Shangrila                             70896910095936060091

                                                  855-9731040 Ca
04/02                             27.56           5692 Debit Card Purchase Amzn Mktp US*Wl58H4Bj3                            87587910008065692091

                                                  Amzn.com/bi Wa
04/02                             25.11           5692 Debit Card Purchase Family Dollar #2489                               87598910008065692091

                                                  San Antonio Tx
04/02                             24.91           5692 Debit Card Purchase La Parrilla Mexican Re                            93249910008065692092

                                                  San Antonio Tx
04/02                             19.34           5692 Debit Card Purchase CVS/Pharmacy #10633                               93251910008065692092

                                                  San Antonio Tx
04/02                             16.17           6060 Debit Card Purchase Chick-Fil-A #01807                                70897910095936060091

                                                  San Antonio Tx
04/02                             15.76           5692 Debit Card Purchase Sonic #5811 San Anton                             93246910008065692092

                                                  Effective 04-01-24
04/02                               9.96          5692 Debit Card Purchase Family Dollar #2489                               87593910008065692091

                                                  San Antonio Tx
04/02                               9.96          5692 Debit Card Purchase Qt 4053 Inside                                    87594910008065692091

                                                  San Antonio Tx
04/02                               8.96          5692 Debit Card Purchase Tst* Burger Boy 5 - NE                            87597910008065692091

                                                  San Antonio Tx
04/02                               7.74          5692 Debit Card Purchase The Home Depot #0503                              87590910008065692091

                                                  San Antonio Tx
04/02                               6.48          5692 Debit Card Purchase Wal-Mart #5245                                    93250910008065692092

                                                  San Antonio Tx
04/02                               3.00          5692 Debit Card Purchase Cosa - Sat Airport Par                            93247910008065692092

                                                  210-2073454 Tx
04/02                               1.10          5692 Debit Card Purchase La Parrilla Mexican Re                            93245910008065692092

                                                  San Antonio Tx
04/03                           265.88            5692 Debit Card Purchase Samsclub #4939                                    08121910008065692093

                                                  San Antonio Tx
04/03                           110.03            5692 Debit Card Purchase Sq *La Panaderia                                  08126910008065692093

                                                  San Antonio Tx
04/03                             80.06           5692 Debit Card Purchase Alamo Candy Company                               08124910008065692093

                                                  210-7348672 Tx
04/03                             78.51           5692 Debit Card Purchase H-E-B San Antonio Tx                              08122910008065692093

                                                  Effective 04-02-24
04/03                             24.89           5692 Debit Card Purchase CD Exchange Bitters                               08123910008065692093

                                                  San Antonio Tx
04/03                               9.96          5692 Debit Card Purchase Shell Oil 57542176102                             08127910008065692093

                                                  San Antonio Tx
04/04                             42.24           5692 Debit Card Purchase Casa Dulce San Antoni                             13396910008065692094

                                                  Effective 04-03-24
04/04                             40.31           5692 Debit Card Purchase Circle K #2742293                                 13394910008065692094

                                                  San Antonio Tx
04/04                             12.50           5692 Debit Card Purchase Py *Kungfu Tea                                    13395910008065692094

                                                  San Antonio Tx


Debit Card Purchases continued on next page
    Case 24-01184-CL11                                 Filed 06/11/24          Entered 06/11/24 12:33:19             Doc 42       Pg. 26 of
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Business Checking
    For 24-hour account information, sign-on to                                        For the Period 04/01/2024 to 04/30/2024
    pnc.com/mybusiness/                                                                Barrio Restaurant Group Llc #24-0118
                                                                                       Primary Account Number:           8966
Business Checking Account Number:                           8966 - continued           Page 5 of 13

Debit Card Purchases                       - continued
Date                                              Transaction                                                                           Reference
posted                           Amount           description                                                                             number

04/09                             27.56           5692 Debit Card Purchase Amzn Mktp US*M70Q95Ub3                            37580910008065692100

                                                  Amzn.com/bi Wa
04/09                             57.62           5692 Debit Card Purchase Wal-Mart #5245                                    37575910008065692100

                                                  San Antonio Tx
04/09                             96.00           5692 Debit Card Purchase Citibank, N.A./Citiban                            37578910008065692100

                                                  888-6205879 SD
04/09                             20.16           5692 Debit Card Purchase Amzn Mktp US*TV4Ow7Ju3                            37579910008065692100

                                                  Amzn.com/bi Wa
04/09                             21.73           5692 Debit Card Purchase Orange Leaf San Anton                             37576910008065692100

04/09                             17.33           5692 Debit Card Purchase La Parrilla Mexican Re                            37577910008065692100

                                                  San Antonio Tx
04/10                             40.27           5692 Debit Card Purchase The Webstaurant Store                             55455910008065692101

                                                  717-3927472 PA
04/10                             11.53           5692 Debit Card Purchase Py *Kung Fu Tea - San                             55457910008065692101

                                                  San Antonio Tx
04/10                             34.39           5692 Debit Card Purchase Murphy Express 8679                               55454910008065692101

                                                  San Antonio Tx
04/10                             26.04           5692 Debit Card Purchase La Michoacana San Anto                            55456910008065692101

                                                  San Antonio Tx
04/10                             20.84           5692 Debit Card Purchase Sq *Malik's Philly's P                            55452910008065692101

                                                  gosq.com Tx
04/10                           400.00            6060 Debit Card Purchase Venmo Visa Direct NY                              00115910095936060101

04/10                            12.02            5692 Debit Card Purchase La Parrilla Mexican Re                            55453910008065692101

                                                  San Antonio Tx
04/11                             36.18           5692 Debit Card Purchase Shell Oil 57542176300                             91676910008065692102

                                                  San Antonio Tx
04/11                            23.99            5692 Debit Card Purchase Juice Joint San Anton                             91675910008065692102

04/11                           251.09            6060 Debit Card Purchase Tiger Sanitation Llc                              38454910095936060102

                                                  210-3334287 Tx
04/11                           175.00            5692 Debit Card Purchase Ronnies Electronics                               91677910008065692102

                                                  National Ci Ca
04/11                           315.55            6060 Debit Card Purchase American Fence San Ant                            38453910095936060102

                                                  210-6616900 Tx
04/11                             75.71           5692 Debit Card Purchase Sq *Solano Produce Llc                            91674910008065692102

                                                  San Antonio Tx
04/11                             60.60           5692 Debit Card Purchase Amazon.com*F55Ig8Ym3                              91673910008065692102

                                                  Amzn.com/bi Wa
04/12                             22.35           5692 Debit Card Purchase Ace Mart St Mary Store                            56269910008065692103

                                                  210-2240082 Tx
04/12                               9.96          5692 Debit Card Purchase Texaco 0355589                                    56270910008065692103

                                                  San Antonio Tx
04/15                           106.18            5692 Debit Card Purchase Amols Specialty                                   07613910008065692105

                                                  San Antonio Tx
04/15                             38.86           5692 Debit Card Purchase Amols Specialty                                   07614910008065692105

                                                  San Antonio Tx
04/15                               4.00          6060 Debit Card Purchase Cosa - Meters                                     95339910095936060105

                                                  210-2078668 Tx




Debit Card Purchases continued on next page
    Case 24-01184-CL11                                 Filed 06/11/24          Entered 06/11/24 12:33:19             Doc 42       Pg. 27 of
                                                                                 34
Business Checking
    For 24-hour account information, sign-on to                                        For the Period 04/01/2024 to 04/30/2024
    pnc.com/mybusiness/                                                                Barrio Restaurant Group Llc #24-0118
                                                                                       Primary Account Number:           8966
Business Checking Account Number:                           8966 - continued           Page 6 of 13

Debit Card Purchases                       - continued
Date                                              Transaction                                                                           Reference
posted                           Amount           description                                                                             number

04/15                             20.53           5692 Debit Card Purchase Amzn Mktp US*Pe99F1843                            07615910008065692105

                                                  Amzn.com/bi Wa
04/15                           115.11            5692 Debit Card Purchase Sams Club #4939                                   07617910008065692105

                                                  San Antonio Tx
04/15                             27.05           5692 Debit Card Purchase Amzn Mktp US*Qb7F23BC3                            07610910008065692105

                                                  Amzn.com/bi Wa
04/15                           108.08            5692 Debit Card Purchase Klarna*airbnb                                     07618910008065692105

                                                  184-4552762 Oh
04/15                             29.88           5692 Debit Card Purchase Tst* Burger Boy 5 - NE                            07611910008065692105

                                                  San Antonio Tx
04/15                             80.34           5692 Debit Card Purchase Sq *Solano Produce Llc                            07612910008065692105

                                                  San Antonio Tx
04/15                               6.25          5692 Debit Card Purchase Py *Kungfu Tea                                    84326910008065692106

                                                  San Antonio Tx
04/15                             36.29           5692 Debit Card Purchase Central Market #191                               07616910008065692105

                                                  San Antonio Tx
04/15                               8.96          5692 Debit Card Purchase Tst* Burger Boy 5 - NE                            84325910008065692106

                                                  San Antonio Tx
04/15                           135.10            5692 Debit Card Purchase Samsclub #4939                                    84327910008065692106

                                                  San Antonio Tx
04/15                             97.63           6060 Debit Card Purchase CM Ecommerce #654                                 24667910095936060106

                                                  855-8030611 Tx
04/16                           168.50            6060 Debit Card Purchase First Enroll-Health Pl                            62486910095936060107

                                                  844-8367655 NJ
04/16                             50.00           5692 Debit Card Purchase Sams Club Renewal                                 16825910008065692107

                                                  888-7467726 Ar
04/16                               4.00          6060 Debit Card Purchase Cosa - Meters                                     62487910095936060107

                                                  210-2078668 Tx
04/16                             25.96           5692 Debit Card Purchase Marcos Pizza - 5236                               16827910008065692107

                                                  210-7745200 Tx
04/16                               5.25          5692 Debit Card Purchase Py *Kung Fu Tea - San                             16826910008065692107

                                                  San Antonio Tx
04/16                             37.22           6060 Debit Card Purchase La Parrilla Mexican Re                            62488910095936060107

                                                  San Antonio Tx
04/16                           125.00            6060 Debit Card Purchase Venmo Visa Direct NY                              62485910095936060107

04/17                            43.98            6060 Debit Card Purchase Shell Oil 57542176102                             26280910095936060108

                                                  San Antonio Tx
04/17                             15.31           5692 Debit Card Purchase The Home Depot #0503                              77931910008065692108

                                                  San Antonio Tx
04/17                             30.97           5692 Debit Card Purchase Stop and Shop #2                                  77932910008065692108

                                                  San Antonio Tx
04/17                             27.57           5692 Debit Card Purchase Py *Kungfu Tea                                    77934910008065692108

                                                  San Antonio Tx
04/17                             11.11           5692 Debit Card Purchase Tst* Burger Boy 5 - NE                            77937910008065692108

                                                  San Antonio Tx
04/17                           259.78            5692 Debit Card Purchase The Webstaurant Store                             77933910008065692108

                                                  717-3927472 PA




Debit Card Purchases continued on next page
    Case 24-01184-CL11                                 Filed 06/11/24          Entered 06/11/24 12:33:19             Doc 42       Pg. 28 of
                                                                                 34
Business Checking
    For 24-hour account information, sign-on to                                        For the Period 04/01/2024 to 04/30/2024
    pnc.com/mybusiness/                                                                Barrio Restaurant Group Llc #24-0118
                                                                                       Primary Account Number:           8966
Business Checking Account Number:                           8966 - continued           Page 7 of 13

Debit Card Purchases                       - continued
Date                                              Transaction                                                                           Reference
posted                           Amount           description                                                                             number

04/17                             22.17           5692 Debit Card Purchase Dnh*Godaddy.Com                                   77936910008065692108

                                                  https://www Az
04/17                           251.16            5692 Debit Card Purchase Sams Club #4939                                   77939910008065692108

                                                  San Antonio Tx
04/17                           214.24            5692 Debit Card Purchase Sq *Solano Produce Llc                            77935910008065692108

                                                  San Antonio Tx
04/17                            92.03            5692 Debit Card Purchase H-E-B San Antonio Tx                              77938910008065692108

04/18                           100.00            5692 Debit Card Purchase Development Services                              22806910008065692109

                                                  210-2078375 Tx
04/18                           100.00            5692 Debit Card Purchase City Of San Antonio                               22809910008065692109

                                                  210-2071111 Tx
04/18                             41.48           5692 Debit Card Purchase DD Doordash 85Cbakery                             22807910008065692109

                                                  855-9731040 Ca
04/18                             18.49           5692 Debit Card Purchase 54TH Street 028 Olo                               22802910008065692109

                                                  210-3425454 Tx
04/18                             25.97           5692 Debit Card Purchase Amzn Mktp US*4Z1Wu8B43                            22808910008065692109

                                                  Amzn.com/bi Wa
04/18                             11.12           5692 Debit Card Purchase Amazon Groce*Mn8Ij7Ir3                            22801910008065692109

                                                  Seattle Wa
04/18                             17.31           5692 Debit Card Purchase Amzn Mktp US*8R5En2V23                            22804910008065692109

                                                  Amzn.com/bi Wa
04/18                           315.56            6060 Debit Card Purchase American Fence Orlando                            69562910095936060109

                                                  407-8514903 Fl
04/18                             60.60           5692 Debit Card Purchase Amazon.com*5N8BS0Wg3                              22805910008065692109

                                                  Amzn.com/bi Wa
04/18                               9.99          5692 Debit Card Purchase DD *Doordashdashpass                              22803910008065692109

                                                  Www.Doordas Ca
04/19                             36.59           5692 Debit Card Purchase The Haven Southtown Me                            72423910008065692110

                                                  210-5332171 Tx
04/19                             16.18           5692 Debit Card Purchase Amzn Mktp US*Dn6Ym9So3                            72424910008065692110

                                                  Amzn.com/bi Wa
04/19                               8.96          5692 Debit Card Purchase Tst* Burger Boy 5 - NE                            72421910008065692110

                                                  San Antonio Tx
04/19                             25.98           5692 Debit Card Purchase Cnclaundry.Com                                    72425910008065692110

                                                  Httpscnclau Tx
04/19                             77.40           5692 Debit Card Purchase Sq *Restaurant Gwendol                            72422910008065692110

                                                  San Antonio Tx
04/22                           498.93            5692 Debit Card Purchase Restaurant Depot                                  20637910008065692112

                                                  San Antonio Tx
04/22                             70.02           5692 Debit Card Purchase Ace Mart St Mary Store                            20633910008065692112

                                                  210-2240082 Tx
04/22                             12.87           5692 Debit Card Purchase Mission Restaurant Sup                            20632910008065692112

                                                  San Antonio Tx
04/22                             29.99           5692 Debit Card Purchase Amazon.com*6K5Kq1Wn3                              20636910008065692112

                                                  Amzn.com/bi Wa
04/22                               6.25          5692 Debit Card Purchase Py *Kung Fu Tea - San                             20638910008065692112

                                                  San Antonio Tx




Debit Card Purchases continued on next page
    Case 24-01184-CL11                                 Filed 06/11/24          Entered 06/11/24 12:33:19             Doc 42       Pg. 29 of
                                                                                 34
Business Checking
    For 24-hour account information, sign-on to                                        For the Period 04/01/2024 to 04/30/2024
    pnc.com/mybusiness/                                                                Barrio Restaurant Group Llc #24-0118
                                                                                       Primary Account Number:           8966
Business Checking Account Number:                           8966 - continued           Page 8 of 13

Debit Card Purchases                       - continued
Date                                              Transaction                                                                           Reference
posted                           Amount           description                                                                             number

04/22                             23.04           5692 Debit Card Purchase Amazon.com*Zo0Sm3U73                              20640910008065692112

                                                  Amzn.com/bi Wa
04/22                           175.10            5692 Debit Card Purchase Sq *Solano Produce Llc                            20634910008065692112

                                                  San Antonio Tx
04/22                           316.74            6060 Debit Card Purchase Finest City Paper                                 09327910095936060112

                                                  858-5693850 Ca
04/22                           150.00            6060 Debit Card Purchase Venmo Visa Direct NY                              09325910095936060112

04/22                            30.84            5692 Debit Card Purchase Amzn Mktp US*Qf5Lx9Jr3                            20635910008065692112

                                                  Amzn.com/bi Wa
04/22                           159.71            6060 Debit Card Purchase CM Ecommerce #654                                 09326910095936060112

                                                  855-8030611 Tx
04/22                             42.32           5692 Debit Card Purchase La Parrilla Mexican Re                            20639910008065692112

                                                  San Antonio Tx
04/22                             81.19           5692 Debit Card Purchase Mission Restaurant Sup                            37659910008065692113

                                                  San Antonio Tx
04/22                               6.25          5692 Debit Card Purchase Py *Kung Fu Tea - San                             37658910008065692113

                                                  San Antonio Tx
04/22                             21.49           5692 Debit Card Purchase DD Doordash Popshelf                              37657910008065692113

                                                  855-9731040 Ca
04/22                             80.00           5692 Debit Card Purchase Sq *Ramirez Lawn Care                             37656910008065692113

                                                  gosq.com Tx
04/23                             39.50           5692 Debit Card Purchase The Haven Southtown Me                            35895910008065692114

                                                  210-5332171 Tx
04/23                             35.27           6060 Debit Card Purchase Shell Oil 57542176102                             79341910095936060114

                                                  San Antonio Tx
04/23                            73.95            5692 Debit Card Purchase Fortiva 855-8025572 G                             35896910008065692114

04/23                           110.77            5692 Debit Card Purchase Klarna* Airbnb                                    35894910008065692114

                                                  Klarna.Com Oh
04/24                             67.36           5692 Debit Card Purchase Pancake Joes                                      55629910008065692115

                                                  San Antonio Tx
04/24                             10.00           5692 Debit Card Purchase Cosa - Alamodome Parki                            55630910008065692115

                                                  210-2078653 Tx
04/26                             29.49           5692 Debit Card Purchase Amzn Mktp US*Bn9220Rq3                            12571910008065692117

                                                  Amzn.com/bi Wa
04/26                             22.19           5692 Debit Card Purchase DD Doordash Magnoliab                             12573910008065692117

                                                  855-9731040 Ca
04/26                             16.50           5692 Debit Card Purchase ebay O*26-11475-57628                             12574910008065692117

                                                  408-3766151 Ca
04/29                             50.66           5692 Debit Card Purchase Mission Restaurant Sup                            22285910008065692119

                                                  San Antonio Tx
04/29                             16.85           5692 Debit Card Purchase Whataburger 661                                   22291910008065692119

                                                  San Antonio Tx
04/29                               8.90          5692 Debit Card Purchase Amazon.com*8N3B40Ta3                              22288910008065692119

                                                  Amzn.com/bi Wa
04/29                             25.84           5692 Debit Card Purchase Amazon.com*VI09V2Ll3                              22289910008065692119

                                                  Amzn.com/bi Wa
04/29                             23.35           5692 Debit Card Purchase Ace Mart St Mary Store                            10360910008065692120

                                                  210-2240082 Tx


Debit Card Purchases continued on next page
    Case 24-01184-CL11                                 Filed 06/11/24          Entered 06/11/24 12:33:19                Doc 42       Pg. 30 of
                                                                                 34
Business Checking
    For 24-hour account information, sign-on to                                           For the Period 04/01/2024 to 04/30/2024
    pnc.com/mybusiness/                                                                   Barrio Restaurant Group Llc #24-0118
                                                                                          Primary Account Number:           8966
Business Checking Account Number:                           8966 - continued              Page 9 of 13

Debit Card Purchases                       - continued
Date                                              Transaction                                                                              Reference
posted                           Amount           description                                                                                number

04/29                             34.00           6060 Debit Card Purchase Cosa - Court Kiosk                                   50823910095936060120

                                                  Sanantonio. Tx
04/29                           297.60            6060 Debit Card Purchase American Air0017012899                               11533910095936060119

                                                  Fort Worth Tx
04/29                           297.60            6060 Debit Card Purchase American Air0017012899                               11534910095936060119

                                                  Fort Worth Tx
04/29                             85.52           5692 Debit Card Purchase ebay O*25-11480-84061                                22284910008065692119

                                                  408-3766151 Ca
04/29                             13.83           5692 Debit Card Purchase Cnclaundry.Com                                       22287910008065692119

                                                  Httpscnclau Tx
04/29                             89.51           5692 Debit Card Purchase Sams Club #4939                                      22281910008065692119

                                                  San Antonio Tx
04/29                             21.22           6060 Debit Card Purchase Py *Kung Fu Tea - San                                11532910095936060119

                                                  San Antonio Tx
04/29                           108.08            5692 Debit Card Purchase Klarna*airbnb                                        22282910008065692119

                                                  184-4552762 Oh
04/29                             22.72           5692 Debit Card Purchase Amazon.com*8V50E9W73                                 22290910008065692119

                                                  Amzn.com/bi Wa
04/29                             16.23           5692 Debit Card Purchase Amazon Prime*U16Fh4O63                               22286910008065692119

                                                  Amzn.com/bi Wa
04/29                             23.36           5692 Debit Card Purchase H-E-B #026 San Antoni                                22283910008065692119

04/29                             22.72           6060 Debit Card Purchase Amazon.com*G70951Tp3                                 11531910095936060119

                                                  Amzn.com/bi Wa
04/29                             75.00           5692 Debit Card Purchase Sq *Ramirez Lawn Care                                10362910008065692120

                                                  gosq.com Tx
04/29                             38.29           5692 Debit Card Purchase Texaco 0355589                                       10361910008065692120

                                                  San Antonio Tx
04/30                               5.25          5692 Debit Card Purchase Py *Kung Fu Tea - San                                67771910008065692121

                                                  San Antonio Tx
04/30                               8.16          5692 Debit Card Purchase Sq *Sweet Baker                                      67772910008065692121

                                                  San Antonio Tx
04/30                               6.13          6060 Debit Card Purchase The UPS Store 6010                                   11884910095936060121

                                                  210-8595900 Tx

POS Purchases
Date                                                            Transaction                                                                Reference
posted                                        Amount            description                                                                  number
04/09                                         14.59             POS Purchase Michaels S San Antonio                         POS053    1676360
04/10                                         92.93             POS Purchase Wal-Mart #5245 San Antonio                   POS24524501 1767184
04/10                                         10.81             POS Purchase Presa Foodmart San Antonio                   POS00005220 1767185
04/11                                         83.09             POS Purchase Central Market San Antonio                   POS87988602 1769101
04/11                                         10.81             POS Purchase Presa Foodmart San Antonio                   POS00005220 1769102
04/11                                          7.50             POS Purchase Family Dollar San Antonio                    POS11930602 1769103
04/11                                        478.95             POS Purchase Restaurant Dep San Antonio                   POS00A61330 1769104
04/12                                          8.98             POS Purchase Chicho Boys Fr San Antonio                   POS96984255 2039461
04/12                                        197.98             POS Purchase Wal-Mart #5245 San Antonio                   POS24524501 2039462
04/15                                         39.96             POS Purchase Circle K #2742 San Antonio                   POS64479002 6528611
04/15                                         39.23             POS Purchase The Home Depot San Antonio                   POS06111094 6528612




POS Purchases continued on next page
    Case 24-01184-CL11                             Filed 06/11/24         Entered 06/11/24 12:33:19              Doc 42      Pg. 31 of
                                                                            34
Business Checking
    For 24-hour account information, sign-on to                                    For the Period 04/01/2024 to 04/30/2024
    pnc.com/mybusiness/                                                            Barrio Restaurant Group Llc #24-0118
                                                                                   Primary Account Number:           8966
Business Checking Account Number:                      8966 - continued            Page 10 of 13

POS Purchases                   continued
Date                                                     Transaction                                                             Reference
posted                                        Amount     description                                                               number

04/15                                         15.14      POS Purchase Circle K #2742 San Antonio                   POS64479002 6528613
04/15                                         71.88      POS Purchase Wm Supercenter San Antonio                   POS52450005 6528614
04/15                                         10.81      POS Purchase Presa Foodmart San Antonio                   POS00005220 6528615
04/15                                         43.20      POS Purchase Wm Supercenter San Antonio                   POS52450048 6528616
04/16                                        119.55      POS Purchase Wm Supercenter San Antonio                   POS52450009 1818661
04/16                                         21.64      POS Purchase Best Buy San Antonio                         POS06579329 1818662
04/17                                         26.04      POS Purchase Chicho Boys Fr San Antonio                   POS96984255 1797475
04/17                                          6.48      POS Purchase Ace Mart St Ma San Antonio                   POS02305379 1797476
04/17                                         36.69      POS Purchase Shell Service San Antonio                    POS84629301 1797477
04/18                                         10.81      POS Purchase Presa Foodmart San Antonio                   POS00005220 1819557
04/18                                         39.96      POS Purchase Qt 4053 Inside San Antonio                     POS001    1819558
04/18                                         35.55      POS Purchase The Home Depot San Antonio                   POS06111095 1819559
04/19                                         17.22      POS Purchase Lyft San Francisc Ca                         POS65550881 2133199
04/19                                         18.36      POS Purchase Presa Foodmart San Antonio                   POS00005220 2133200
04/19                                        212.36      POS Purchase Sams Club #493 San Antonio                   POS49390001 2133201
04/19                                         95.12      POS Purchase Wal-Mart Super San Antonio                   POS52450009 2133202
04/22                                         35.04      POS Purchase H-E-B #026 San Antonio                       POS87603602 6380841
04/22                                         12.56      POS Purchase Family Dollar San Antonio                    POS11930602 6380842
04/22                                        159.95      POS Purchase Sam's Club San Antonio                       POS49390004 6380843
04/22                                        154.58      POS Purchase Wm Supercenter San Antonio                   POS52450005 6380844
04/22                                         30.13      POS Purchase 7-Eleven 36627 San Antonio                   POS13348501 6380845
04/22                                        107.67      POS Purchase Wm Supercenter San Antonio                   POS13130031 6380846
04/22                                         13.26      POS Purchase Family Dollar San Antonio                    POS11930602 6380847
04/22                                        119.22      POS Purchase Wal-Mart Super San Antonio                   POS52450050 6444751
04/22                                         31.61      POS Purchase Family Dollar San Antonio                    POS11930601 6380848
04/23                                        191.36      POS Purchase The Home Depot San Antonio                   POS06111145 1753566
04/24                                         32.46      POS Purchase Michaels S San Antonio                         POS052    1767950
04/24                                         30.00      POS Purchase Shell Service San Antonio                    POS84629301 1767948
04/24                                           .81      POS Purchase Presa Foodmart San Antonio                   POS00005220 1767949
04/24                                        110.04      POS Purchase Wal-Mart #5245 San Antonio                   POS24524501 1767951
04/25                                         57.66      POS Purchase Alamo Candy Co San Antonio                   POS00010001 1832472
04/25                                        296.18      POS Purchase Restaurant Dep San Antonio                   POS00A61332 1832473
04/25                                         41.82      POS Purchase H-E-B #556 San Antonio                       POS88018102 1832474
04/25                                         38.45      POS Purchase Specs #197 819 San Antonio                   POS99999999 1832475
04/26                                         39.96      POS Purchase Shell Service San Antonio                    POS84629301 2144974
04/26                                         17.95      POS Purchase Michaels S San Antonio                         POS053    2144976
04/26                                          3.99      POS Purchase Wholefds Qry 1 San Antonio                   POS99999999 2144975
04/29                                         10.15      POS Purchase Family Dollar San Antonio                    POS11930601 6465624
04/29                                         99.26      POS Purchase Wm Supercenter San Antonio                   POS52450009 6465625
04/29                                        285.78      POS Purchase Restaurant Dep San Antonio                   POS00A61325 6465626
04/29                                         15.48      POS Purchase The Home Depot San Antonio                   POS06111088 6465627
04/29                                         16.28      POS Purchase Circle K #2742 San Antonio                   POS64479002 6465628
04/29                                         24.52      POS Purchase The Home Depot San Antonio                   POS06111094 6465629
04/29                                        100.00      POS Purchase Best Buy San Antonio                         POS06579329 6465630
04/29                                         18.52      POS Purchase Wal-Mart #5245 San Antonio                   POS24524501 6465631
04/30                                         29.64      POS Purchase Hung Phong Ori San Antonio                   POS06461792 1806266
04/30                                         25.58      POS Purchase Shell Service San Antonio                    POS55588201 1806267
    Case 24-01184-CL11                                Filed 06/11/24         Entered 06/11/24 12:33:19               Doc 42      Pg. 32 of
                                                                               34
Business Checking
    For 24-hour account information, sign-on to                                        For the Period 04/01/2024 to 04/30/2024
    pnc.com/mybusiness/                                                                Barrio Restaurant Group Llc #24-0118
                                                                                       Primary Account Number:           8966
Business Checking Account Number:                         8966 - continued             Page 11 of 13

ATM/Misc. Debit Card Transactions
Date                                                        Transaction                                                              Reference
posted                                        Amount        description                                                                number
04/03                                              6.48     5692 Recurring Debit Card Paramount+ 888-27453             08125910008065692093
                                                            Effective 04-02-24
04/15                                        800.00         ATM Withdrawal 1014 Goliad Rd San Antonio                   PNCPJ4602 6551712
04/15                                        400.00         ATM Withdrawal 1014 Goliad Rd San Antonio                   PNCPJ4602 6551713
04/16                                        800.00         ATM Withdrawal 1014 Goliad Rd San Antonio                   PNCPJ4602 2407516
04/16                                        600.00         ATM Withdrawal 1014 Goliad Rd San Antonio                   PNCPJ4602 2407517
04/18                                        800.00         ATM Withdrawal 1014 Goliad Rd San Antonio                   PNCPJ4602 1841971
04/19                                        320.00         ATM Withdrawal 1014 Goliad Rd San Antonio                   PNCPJ4602 2842839
04/23                                         20.17         N0423 5692 Payment Affirm San Francisc Ca                     POS001    1753564
04/23                                         23.66         N0423 5692 Payment Affirm San Francisc Ca                     POS001    1753565
04/26                                        113.64         5692 Recurring Debit Card Fubotv Inc 844-44138             12572910008065692117

ACH Deductions
Date                                                        Transaction                                                              Reference
posted                                        Amount        description                                                                number
04/08                                       500.00          Zel To Barrio Dogg Llc                                            PNCAA0KOr72m
04/08                                       500.00          Zel To Barrio Dogg Llc                                            PNCAA0KPE56S
04/08                                        47.24          ACH Web Spectrum Spectrum 6066297                              00024099909694282
04/08                                     1,000.00          Zel To Barrio Dogg Llc                                            PNCAA0KQP76k
04/10                                       325.83          Corporate ACH Fdms Pymt Fdms 052-2150044-000                   00024100904595012
04/10                                       136.22          ACH Debit Clover App                                           00024100906894226
                                                            Clover App Mrkt XXXXXXXXXXX-000
04/11                                       306.67          Zel To Barrio Dogg Llc                                             PNCAA0KSj72A
04/12                                     1,025.00          Corporate ACH Sale Total Impact Boo                            00024103906127067
04/15                                       285.00          Corporate ACH ACH Pmt Amex Epayment W7838                      00024106910129419
04/15                                       247.09          ACH Debit Spectrum Spectrum 8078563                            00024106910200847
04/15                                       500.00          Zel To Barrio Dogg Llc                                           PNCAA0KWm57H
04/16                                       757.55          Corporate ACH XXXXXXXXXX                                       00024106912619432
                                                            Ben E. Keith Co 071921891
04/17                                     1,000.00          Zel To Barrio Dogg Llc                                            PNCAA0KXo37T
04/22                                       979.19          Corporate ACH XXXXXXXXXX                                       00024110908880170
                                                            Ben E. Keith Co 071921891
04/22                                        128.40         ACH Web Utility Cpsenergy Ezpay 0406337                        00024113902674050
04/23                                        100.00         ACH Debit ACH Pmt Imprintp2 Wogvxud6K3Bqi29                    00024114907744125
04/24                                         52.00         Corporate ACH DD Webfile Tax Pymt 902/75586875                 00024114909928913
04/25                                        138.15         Corporate ACH Cps Webpmt                                       00024115900966628
                                                            City Public Srv 003005251485
04/25                                             63.56     ACH Web Web Debits                                             00024115900966500
                                                            Sa Water System 007422075400155
04/25                                             56.90     ACH Web Web Debits                                             00024115900966501
                                                            Sa Water System 007421778100156
04/26                                       677.76          Zel To Pablo Rios                                                  PNCAA0Kfm54T
04/29                                     1,226.17          Corporate ACH XXXXXXXXXX                                       00024117909961418
                                                            Ben E. Keith Co 071921891
04/29                                     1,049.38          Corporate ACH EFT Pymt                                         00024117911679803
                                                            Bristol West Ins 006100m00007189
04/29                                        400.00         ACH Web Onlinepay Ridge At Sala456 1350287                     00024120903407500
04/29                                        239.00         Corporate ACH Cps Webpmt                                       00024117909332139
                                                            City Public Srv 003005565727



ACH Deductions continued on next page
    Case 24-01184-CL11                                Filed 06/11/24         Entered 06/11/24 12:33:19                Doc 42        Pg. 33 of
                                                                               34
Business Checking
    For 24-hour account information, sign-on to                                         For the Period 04/01/2024 to 04/30/2024
    pnc.com/mybusiness/                                                                 Barrio Restaurant Group Llc #24-0118
                                                                                        Primary Account Number:           8966
Business Checking Account Number:                         8966 - continued              Page 12 of 13

ACH Deductions                  - continued
Date                                                        Transaction                                                                   Reference
posted                                        Amount        description                                                                     number

04/29                                             69.15     ACH Web-Recur Affirm Pay Affirm Inc 2186795                     00024120902920657
04/29                                              1.99     ACH Web Assn Dues Acct Integrators 1350287                      00024120903407457

Service Charges and Fees
Date                                                        Transaction                                                                   Reference
posted                                        Amount        description                                                                     number
04/01                                          1.50         ATM Mini Statement Fee                                        PNCPJ4602       8292107
04/01                                        251.00         Service Charge Period Ending 03/29/2024
04/02                                        723.31         PNC Merchant Discount 277324705999                              277324705999      NKY
04/02                                         12.95         PNC Merchant Fee       277324705999                             277324705999      NKY

Other Deductions
Date                                                        Transaction                                                                   Reference
posted                                        Amount        description                                                                     number
04/24                                        500.00         Ret Dep Item                102366                           0423079613625NSF/UN
Detail of Services Used During Current Period
Note: The total charge for the following services will be posted to your account on 05/01/2024 and will appear on your next statement as a single
line item entitled Service Charge Period Ending 04/30/2024.

** Combined Transactions include ACH Credits, ACH Debits, Checks Paid, Deposited Item - Consolidated, Deposit Tickets Processed
Description                                                                  Volume                   Amount
Account Maintenance Charge                                                                               .00       Requirements Met
Combined Transactions                                                           46                       .00      Included in Account
  ACH Debits                                                                    20                       .00
  Checks Paid                                                                   25                       .00
  Deposit Tickets Processed                                                      1                       .00
Branch - Consolidated Cash Deposited                                             4                       .00      Included in Account
Return Of Deposited Item Charge                                                  1                       .00      Included in Account
Image Unassisted View Deposit Item                                               1                       .00      Included in Account
Branch - Currency Furnished                                                    230                       .57
Branch - Coin Furnished Rolls                                                   16                      2.40
Funds Transfer Services                                                                                15.00
  Incoming Wire Transfer                                                         1                     15.00
Account Reconcilement Service                                                                          27.00
  Partial Recon Rev Pospay Monthly                                               1                     20.00
  ARP/Positive Pay Returns                                                       1                      7.00
Automated Clearinghouse Service                                                                         6.00
  UPIC Monthly Maintenance                                                       1                      6.00
Information Services                                                                                   55.00
  PINACLE Essential Payments Monthly                                             1                     55.00
Total For Services Used This Period                                                                   105.97
Total Service Charge                                                                                  105.97
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                                                                                34
Business Checking
    For 24-hour account information, sign-on to                                       For the Period 04/01/2024 to 04/30/2024
    pnc.com/mybusiness/                                                               Barrio Restaurant Group Llc #24-0118
                                                                                      Primary Account Number:            8966
Business Checking Account Number:                        8966 - continued             Page 13 of 13

Business Checking - Maintenance Fee Relationship Pricing
These accounts were reviewed to meet the balance requirement and offset the monthly account maintenance fee for your Business Checking
account. *If the Met/Not Met Status reflects "No Fee", your most recent credit card statement balance is not reflected and you will not be charged the
Maintenance Fee for this statement cycle.
Account Type                               Ending In    Condition                                As of                        Balance      Met/Not Met


PNC Merchant Deposits                                   This Cycle Deposits                      04/30/24                43,701.66
PNC Merchant Deposits
Total                                                                                                                     43,701.66               Met




Member FDIC                                                                   Equal Housing Lender
